               Case 1:20-bk-11358-MB                    Doc 1 Filed 07/31/20 Entered 07/31/20 16:33:05                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA-SFV

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jaguar Distribution Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Jaguar Distribution Corporation
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 4675
                                  Valley Village, CA 91617
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3289 El Camino Real Irvine, CA 92602
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.JaguarDC.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Jaguar Distribution Corp.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Jaguar Distribution Corp.                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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?WTfad    DRXeRb ?ZcdbZSedZ_^ >_b`,                                                                >SeW `g_TWd )<8 =@AH@*
          GS_W



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    bV`bVcV^dRdZfV _W UVSd_b
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                                 C VWU^SdW g`VWd bW`S^fk aX bWd\gdk fZSf fZW XadWYa[`Y [e fdgW S`V UaddWUf-

                                 @jWUgfWV a`      De\i 1/* 0.0.
                                                  FF . ?? . QQQQ


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 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                                !   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        "         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        "         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        "         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        "         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        "         Schedule H: Codebtors (Official Form 206H)

        "         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        !         Amended Schedule
        "         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        !         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 31, 2020                           X
                                                                         Signature of individual signing on behalf of debtor

                                                                         James Wong
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Jaguar Distribution Corp.
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                     ! Check if this is an
                                                CALIFORNIA-SFV
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hanway Films Ltd                Beverely Cullen Trade debt - as                        Unliquidated                                                                  $1,470,224.42
 Attn Beverely Cullen                            Licensor and/or                        Disputed
 24 Hanway Street                020-7290-0750   Agent for
 London W1T 1UH,                 BC@HanwayFilms. Licensor
 UK                              com
 Exclusive Films                 Unknown         Trade debt -                           Unliquidated                                                                  $1,320,212.24
 International LLC                               Licensor and                           Disputed
 Attn Business                                   Assignee under
 Affairs                                         Notice of
 9100 Wilshire Blvd,                             Assignment
 Ste 401E
 Beverly Hills, CA
 90212
 Protagonist Pictures            Henry Law         Trade debt - as                      Unliquidated                                                                    $792,485.53
 Ltd                                               Licensor and/or                      Disputed
 Attn Henry Law                  Henry@Protagonis Agent for
 42-48 Great Portland            tPictures.com     Licensor
 Street                          +44-0-2077-349000
 London W1W 7NB,
 UK
 Bloom Media                     Eduardo de Abreu                Trade debt - as                                                                                        $682,776.70
 Attn Eduardo de                                                 Licensor and/or
 Abreu                           edeabreu@endeav                 Agent for
 400 S Beverly Drive             orcontent.com                   Licensor
 Ste 300                         323-510-3330
 Beverly Hills, CA
 90212
 Icon Entertainment              Unknown                         Trade debt - as        Unliquidated                                                                    $463,273.71
 Inc                                                             Licensor and/or        Disputed
 Solar House 1st                                                 Agent for
 Floor                                                           Licensor
 915 High Road
 London N12 8QJ,
 UK




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Jaguar Distribution Corp.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Europacorp                      Simon Briot Romer Trade debt - as                      Unliquidated                                                                    $380,120.04
 Attn Simon                                        Licensor and/or                      Disputed
 Briot-Romer                     SBriotromer@Euro Agent for
 Cite du Cinema                  pacorp.com        Licensor
 20 Rue Ampere                   +33-1-55-99-50-00
 93413
 St Denis Cedex
 France
 Affinity International          Unknown                         Trade debt -           Unliquidated                                                                    $323,122.99
 9378 Wilshire Blvd                                              Licensor               Disputed
 Suite 210
 Beverly Hills, CA
 90212
 Blumhouse                       Cynthia Kim                     Trade debt - as                                                                                        $309,456.66
 International                                                   Licensor and/or
 Attn Cynthia Kim                Cynthia@Blumhou                 Agent for
 2401 Beverly Blvd               seInternational.co              Licensor
 Los Angeles, CA                 m
 90057                           213-835-1056
 Exclusive Media                 Unknown                         Trade debt -                                                                                           $304,652.38
 Group                                                           Licensor and
 Attn Business                                                   Assignee under
 Affairs                                                         Notice of
 9100 Wilshire Blvd                                              Assignment
 Ste 401E
 Los Angeles, CA
 90012
 Mongrel Media Inc               Michaela Tobin   Trade debt - as                                                                                                       $293,184.08
 Attn Michaela Tobin                              Licensor and/or
 1028 Queen St West              Michaela@mongrel Agent for
 Toronto, ONTARIO                media.com        Licensor
 MGJ 1H6                         415-516-9775
 Seville/E-One Ent               Ragavi           Trade debt - as                                                                                                       $240,190.22
 Attn Ragavi                     Akilananthan     Licensor and/or
 Akilananthan                                     Agent for
 400 de Maisonneuve              RAkilananthan@en Licensor
 Blvd                            tonegroup.com
 West #1120                      416-646-2400
 Montreal, Quebec
 H3A 1L4
 Cinema                          Unknown                         Trade debt -           Unliquidated                                                                    $193,700.12
 Management Group                                                Licensor               Disputed
 8383 Wilshire Blvd
 Ste 320
 Beverly Hills, CA
 90211
 Altitude Film Sales             Mike Runagall      Trade debt - as                                                                                                     $191,845.54
 Limited                                            Licensor and/or
 Attn Mike Runagall              charliekemball@alt Agent for
 34 Fouberts Place               itudefilmsales.com Licensor
 London W1F 7PX,
 UK


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Jaguar Distribution Corp.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Nu Image, Inc                   Gustavo Santana                 Trade debt -                                                                                           $184,332.94
 (Millenium Films)                                               Licensor
 Attn Gustavo                    GSantana@millenn
 Santana                         ium-media.net
 6423 Wilshire Blvd
 Los Angeles, CA
 90048
 Inferno                         Unknown                         Trade debt -           Unliquidated                                                                    $171,375.78
 Entertainment Inc                                               Licensor               Disputed
 1888 Century Park
 East
 Suite 1540
 Los Angeles, CA
 90067
 Independent Film                Asia Muci        Trade debt - as                                                                                                       $170,002.35
 Sales                                            Licensor and/or
 Attn Asia Muci                  Asia@Independent Agent for
 195 Wardour St                  FilmCompany.com Licensor
 London W1F 8ZG,                 +44-20-7257-8734
 UK
 Embankment Films                Libby Darcy        Trade debt - as                                                                                                     $162,267.03
 Attn Libby Darcy                                   Licensor and/or
 Little Ashlake                  LD@EmbankmentF Agent for
 Ashlake Copse                   ilms.com           Licensor
 Road                            +44-0-207-183-4739
 Ryde PO33 4EY
 Sierra Affinity LLC             Cynthia Griffiths  Trade debt - as                                                                                                     $139,760.29
 Attn Cynthia                                       Licensor and/or
 Griffiths                       Cynthia@Sierra-Aff Agent for
 9378 Wilshire Blvd              inity.com          Licensor
 Ste 210                         424-253-1060
 Beverly Hills, CA
 90212
 Studio 100 Media                Stefan Breyer      Trade debt - as                                                                                                     $130,919.21
 Attn Stefan Breyer                                 Licensor and/or
 Neumarkter Str                  Stefan.Breyer@Stu Agent for
 18-20                           dio100media.com    Licensor
 81673 Munchen                   +49-89-960-855-155
 Germany
 Celsius                         Thierry                         Trade debt - as        Unliquidated                                                                    $123,138.52
 Entertainment                   Wase-Bailey                     Licensor and/or        Disputed
 Attn Thierry                                                    Agent for
 Wase-Bailey                     twb@celsiusentert               Licensor
 249 Grays Inn Road              ainment.com
 London WC1X 8QZ,                +44-207-193-1801
 UK




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Central District of California-SFV
 In re      Jaguar Distribution Corp.                                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities                       Kind of Interest
 business of holder
 Jeffrey S. Klein                                                      Privately held  100%                                      Shareholder Interest
 4651 Morse Ave                                                        shares of stock
 Sherman Oaks, CA 91423


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date July 31, 2020                                                            Signature
                                                                                            James Wong

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at
                  Irvine                                           , California.
                                                                                                     James Wong
Date:            July 31, 2020                                                                       Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
               Case 1:20-bk-11358-MB                                        Doc 1 Filed 07/31/20 Entered 07/31/20 16:33:05                                                                    Desc
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 Fill in this information to identify the case:

 Debtor name            Jaguar Distribution Corp.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                                                                                   !   Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,768,195.26

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,768,195.26


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        9,018,419.66


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,018,419.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                                 !      Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      ! No.   Go to Part 2.
      " Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Pacific Western Bank
                     1880 Century Park East, Suite 100
            3.1.     Los Angeles, CA 90067                                  Checking                         1110                                     $9,257.51


                     East West Bank
                     9378 Wilshire Blvd., Suite 100
            3.2.     Beverly Hills, CA                                      Checking Account                 9703                                  $421,726.75



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $430,984.26
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ! No.   Go to Part 3.
      " Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                     Prepaid insurance, including general liablity, workers' compensation, disability and
            8.1.     medical                                                                                                                          $3,326.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor            Jaguar Distribution Corp.                                                      Case number (If known)
                   Name




            8.2.     Taxes                                                                                                                       $800.00




 9.         Total of Part 2.                                                                                                               $4,126.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      ! No.   Go to Part 4.
      " Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           375,472.00   -                             56,127.00 = ....                 $319,345.00
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                              930,357.00   -                           98,116.00 =....                    $832,241.00
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                          $1,151,586.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

      " No.   Go to Part 5.
      ! Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      " No.   Go to Part 6.
      ! Yes Fill in the information below.

 Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      " No.   Go to Part 7.
      ! Yes Fill in the information below.

 Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      ! No.   Go to Part 8.
      " Yes Fill in the information below.
            General description                                                  Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.        Office furniture
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                Name



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            In storage: 3 computers and accessories                                     $1,000.00     estimated market                    $1,000.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles
            42.1. In storage: framed movie posters                                       $100.00      estimated market                      $100.00



 43.        Total of Part 7.                                                                                                             $1,100.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            " No
            ! Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            " No
            ! Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    " No.    Go to Part 9.
    ! Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    " No.    Go to Part 10.
    ! Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    ! No.    Go to Part 11.
    " Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            http://www.jaguardc.com                                                    Unknown                                            Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Jaguar Distribution Corp.                                                    Case number (If known)
                Name

            Distribution Licenses - Licenses to distribute
            motion pictures world-wide to: (a) airlines and
            (b) watercraft (including but not limited to,
            passenger vessels, the merchant marine, ferry
            boats and hovercraft), all carrying the flag of
            or registered in every nation or territory of the
            world (with some exclusions). See Schedule
            G                                                                          Unknown       N/A                                Unknown


            "Distribution Rights and Services Agreement"
            with Sylvic Holdings, LLC in connection with
            the motion picture "Collette" (See Schedule
            G)                                                                         Unknown       N/A                                Unknown


            "Distribution Rights and Services Agreement"
            with Sylvic Holdings, LLC in connection with
            the motion picture "Bad Education" (See
            Schedule G - pending termination)                                          Unknown       N/A                                Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            " No
            ! Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            " No
            ! Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            " No
            ! Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    ! No.    Go to Part 12.
    " Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor         Jaguar Distribution Corp.                                                    Case number (If known)
                Name

           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Loans to shareholder                                                                                          $180,399.00




 78.       Total of Part 11.                                                                                          $180,399.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           " No
           ! Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 5
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 Debtor          Jaguar Distribution Corp.                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $430,984.26

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $4,126.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,151,586.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,100.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $180,399.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,768,195.26            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,768,195.26




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                           !    Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     " No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     ! Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                                          !     Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          ! No. Go to Part 2.
          " Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Employment Development Dept.                              Check all that apply.
           Bankruptcy Group MIC 92E                                  ! Contingent
           P.O. Box 82680                                            ! Unliquidated
           Sacramento, CA 94280-0001                                 ! Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notification purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Employment Development Dept.                              Check all that apply.
           P. O. Box 82676                                           ! Contingent
           Sacramento, CA 94230-6276                                 ! Unliquidated
                                                                     ! Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notification purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 47
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 Debtor       Jaguar Distribution Corp.                                                                       Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $0.00     $0.00
          Franchise Tax Board                                        Check all that apply.
          Bankruptcy Section, MS: A-340                              ! Contingent
          P.O. Box 2952                                              ! Unliquidated
          Sacramento, CA 95812-2952                                  ! Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notification purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        " No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $0.00     $0.00
          Franchise Tax Board                                        Check all that apply.
          P.O. Box 942857                                            ! Contingent
          Sacramento, CA 94257-0531                                  ! Unliquidated
                                                                     ! Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notification purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        " No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $0.00     $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                ! Contingent
          Philadelphia, PA 19101-7346                                ! Unliquidated
                                                                     ! Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notification purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        " No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $0.00     $0.00
          Los Angeles County Tax Collector                           Check all that apply.
          PO Box 54110                                               ! Contingent
          Los Angeles, CA 90054-0110                                 ! Unliquidated
                                                                     ! Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notification purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        " No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 47
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 Debtor       Jaguar Distribution Corp.                                                                       Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00     $0.00
           Los Angeles County Tax Collector                          Check all that apply.
           Kenneth Hahn Hall of Admin.                               ! Contingent
           225 N. Hill Street, Rm. 160                               ! Unliquidated
           Los Angeles, CA 90012                                     ! Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notification purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes

 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00     $0.00
           State Board of Equalization                               Check all that apply.
           Account Information Group MIC 29                          ! Contingent
           PO Box 942879                                             ! Unliquidated
           Sacramento, CA 94279-0029                                 ! Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notification purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       " No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     ! Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 Unknown
           120dB Films Lending LLC                                                 ! Contingent
           Attn Mr Stephen Hays                                                    ! Unliquidated
           75 Mill River Road, So Salem                                            ! Disputed
           South Salem, NY 10590
                                                                                   Basis for the claim:     Assignee under Notice of Assignment - "Reclaim"
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?   " No ! Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $33.02
           6 Sales                                                                 ! Contingent
           Alto de las Cabanas                                                     " Unliquidated
           5 Las Rozas
           Madrid 28231 Spain                                                      " Disputed
           Date(s) debt was incurred                                               Basis for the claim:     Trade debt - Licensor
           Last 4 digits of account number                                         Is the claim subject to offset?   " No ! Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 Unknown
           99 Homes Productions                                                    ! Contingent
           14958 Ventura Boulevard                                                 ! Unliquidated
           Sherman Oaks, CA 91403                                                  ! Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt - Licensor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?   " No ! Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 47
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              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $785.28
          A24 International LLC                                              ! Contingent
          601 West 26th Street                                               ! Unliquidated
          Suite 1740                                                         ! Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $323,122.99
          Affinity International                                             ! Contingent
          9378 Wilshire Blvd                                                 " Unliquidated
          Suite 210
          Beverly Hills, CA 90212                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Age of Heroes Films Limited
          c/o Content Media Corporation                                      ! Contingent
          International Limited as agent                                     ! Unliquidated
          19 Heddon Street                                                   ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Agile Stray Beast Limited                                          ! Contingent
          68-22 Redchurch Street                                             ! Unliquidated
          London E2 7DP UK, UK                                               ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          AIBMS LLC
          c/o Content Media Corporation                                      ! Contingent
          International Limited as agent                                     ! Unliquidated
          19 Heddon Street                                                   ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Airclight Films International Pty                                  ! Contingent
          Suite 228 (FSA #40) Building 61                                    ! Unliquidated
          Driver Ave Moore Park                                              ! Disputed
          NSW 2021 Sydney
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,372.02
          Alchemy                                                            ! Contingent
          5900 Wilshire Blvd Ste 2750                                        ! Unliquidated
          Los Angeles, CA 90036                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $44.20
          Aldamisa International                                             ! Contingent
          15760 Ventura Boulevard                                            ! Unliquidated
          Suite 1450                                                         ! Disputed
          Encino, CA 91436
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $191,845.54
          Altitude Film Sales Limited                                        ! Contingent
          Attn Mike Runagall                                                 ! Unliquidated
          34 Fouberts Place                                                  ! Disputed
          London W1F 7PX, UK
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          AMBI Film Distribution                                             ! Contingent
          Attn Craig Kelner                                                  ! Unliquidated
          9454 Wilshire Boulevard                                            ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,031.75
          American Mary Productions                                          ! Contingent
          c/o Post Hoc Management                                            ! Unliquidated
          750 Grand Street #7S                                               ! Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Anagram Films Limited                                              ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
           24 Hanway St                                                      ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Anomalisa LLC                                                      ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $106.25
          Archimedia Productions LTD                                         ! Contingent
          223-231 Old Marylebone Road                                        ! Unliquidated
          London England NW1 5QT, UK                                         ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Arclight Films International
          Attn Gary Hamilton                                                 ! Contingent
          Building 125 Ste 108                                               ! Unliquidated
          The Entertainment Quarter Lang Road                                ! Disputed
          Moore Park NSW 2021
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Arclight Films International Pty LT                                ! Contingent
          Attn Chris Perry                                                   ! Unliquidated
          8447 Wilshire Blvd Ste 101                                         ! Disputed
          Beverly Hills, CA 90211
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $384.83
          Arthouse Films                                                     ! Contingent
          80 Greene St                                                       " Unliquidated
          New York, NY 10012
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,472.08
          Astrablu Media                                                     ! Contingent
          9190 W. Olympic Blvd                                               " Unliquidated
          Suite 420
          Beverly Hills, CA 90212                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Backwell Productions Limited                                       ! Contingent
          15 Golden Square                                                   ! Unliquidated
          London W1F 9JG, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Pudsey"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bank Leumi                                                         ! Contingent
          Attn David K Henry                                                 ! Unliquidated
          555 West 5th St Ste 3300                                           ! Disputed
          Los Angeles, CA 90013
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Lender
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bank Leumi (UK)
          Attn Stuart Woodward                                               ! Contingent
          & Elisa Alvarest                                                   ! Unliquidated
          20 Stratford Place                                                 ! Disputed
          London W1C 1BG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Breathe
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,094.77
          Bankside Films                                                     ! Contingent
          Douglas House 3                                                    ! Unliquidated
          Richmond Buildings                                                 ! Disputed
          London W1D 3HE, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          BC Pictures, LLC                                                   ! Contingent
          8730 Wilshire Boulevard                                            ! Unliquidated
          Suite 350                                                          ! Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Bel Canto"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Berserk FIlms EHF                                                  ! Contingent
          Hverfisgata 54 1010                                                ! Unliquidated
          Reykjavik Iceland                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4.15
          Blacklight Films                                                   ! Contingent
          3371 Cahuenga Blvd. West                                           " Unliquidated
          Los Angeles, CA 90068
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Blinder Films Limited                                              ! Contingent
          First Floor 71 Dame Street                                         ! Unliquidated
          Dublin 2 Ireland                                                   ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $682,776.70
          Bloom Media                                                        ! Contingent
          Attn Eduardo de Abreu                                              ! Unliquidated
          400 S Beverly Drive Ste 300                                        ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,889.46
          Blue Fox Entertainment 2 LLC                                       ! Contingent
          1801 Century Park East                                             ! Unliquidated
          Los Angeles, CA 90067                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Blueprint Pictures (Posh) Limited                                  ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $309,456.66
          Blumhouse International                                            ! Contingent
          Attn Cynthia Kim                                                   ! Unliquidated
          2401 Beverly Blvd                                                  ! Disputed
          Los Angeles, CA 90057
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bold Films UK Limited                                              ! Contingent
          17-19 Maddox Street                                                ! Unliquidated
          Mayfair London W1S 2QH, UK                                         ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Colette"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          BOS Entertainment                                                  ! Contingent
          4500 Wilshire Boulevard                                            ! Unliquidated
          2nd Floor                                                          ! Disputed
          Los Angeles, CA 90010
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Breathe Films Limited                                              ! Contingent
          71 Victoria Street                                                 ! Unliquidated
          London EC4V 4BE, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          British Broadcasting Company                                       ! Contingent
          Attn Head of Legal & Business                                      ! Unliquidated
          Affairs                                                            ! Disputed
          c/o BBC Films, Zone A 7th Floor
          Portland Place London W1A 1AA, UK                                                  Assignee under Notice of Assignment - On Chesil
                                                                             Basis for the claim:
                                                                             Beach, Their Finest Hour and A Half
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,806.57
          Bros The Film Limited                                              ! Contingent
          7A Bayham Street Camden                                            ! Unliquidated
          London England NW1 0EY, UK                                         ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Burmester, Duncker & Joly                                          ! Contingent
          Attn Hendrick Bockelmann                                           ! Unliquidated
          GMBH & Co KG Trading under the name                                ! Disputed
          of DFG Deutsche Film Trostbrucke 1
          Hamburg Germany                                                                   Assignee under Notice of Assignment - "On Chesil
                                                                             Basis for the claim:
                                                                             Beach," "A Royal Night Out," and "Their Finest Hour and a Half."
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bushbranch Films Limited
          Suite 3 Old Kings Head Court                                       ! Contingent
          11 High Street                                                     ! Unliquidated
          Dorking Surrey                                                     ! Disputed
          RH4 1AR, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Calvary Films Limited                                              ! Contingent
          10 Vicarage Court Vicarage Gate                                    ! Unliquidated
          London W8 4HE, UK                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Caught In Flight Films Limited                                     ! Contingent
          Brigade House 8 Parsons Green                                      ! Unliquidated
          London SW6 4TN, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $123,138.52
          Celsius Entertainment                                              ! Contingent
          Attn Thierry Wase-Bailey                                           " Unliquidated
          249 Grays Inn Road
          London WC1X 8QZ, UK                                                " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,488.22
          Charades                                                           ! Contingent
          17 Boulevard Jules Ferry                                           ! Unliquidated
          Paris France 75011                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $193,700.12
          Cinema Management Group                                            ! Contingent
          8383 Wilshire Blvd Ste 320                                         " Unliquidated
          Beverly Hills, CA 90211
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,076.40
          Cinemagic                                                          ! Contingent
          49 Botanic Avenue                                                  ! Unliquidated
          Belfast Bt7 1JL, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,539.54
          Cinetic Media                                                      ! Contingent
          555 West 25th Street                                               ! Unliquidated
          4th Floor                                                          ! Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Colette Film Holdings LTD                                          ! Contingent
          17-19 Maddox Street                                                ! Unliquidated
          Mayfair London W1S 2QH, UK                                         ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Colette"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Colony Productions (Ontario) Inc
          and Productions Colony (Quebec) Inc                                ! Contingent
          1 Atlantic Avenue Ste 100                                          ! Unliquidated
          Toronto Ontario                                                    ! Disputed
          M6K 3E7 Canada
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Comerica                                                           ! Contingent
          Attn Adam J Korn/Todd Steiner                                      ! Unliquidated
          2000 Avenue of the Stars Ste 210                                   ! Disputed
          Los Angeles, CA 90067
                                                                                            Assignee under Notice of Assignment - "Colette",
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             "The Mechanic 2", "Parkland","Pele", "Rush", "Unlocked","Jane Got a
          Last 4 digits of account number                                    Gun"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,080.08
          Content Media Corporation                                          ! Contingent
          International Limited                                              ! Unliquidated
          19 Heddon Street                                                   ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Coutts & Co                                                        ! Contingent
          Attn Karl Dye                                                      ! Unliquidated
          440 Strand                                                         ! Disputed
          London WC2R 0QS, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Finding your
          Date(s) debt was incurred
                                                                             feet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes


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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,239.95
          Curzon Artificial Eye                                              ! Contingent
          12 Stukeley Street                                                 ! Unliquidated
          London WC2B 5LR, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Curzon Film World Limited                                          ! Contingent
          2nd Floor 22 Stukeley St                                           ! Unliquidated
          London WC2B 5LR, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dakota Group Limited                                               ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dancing Dog Distribution Limited                                   ! Contingent
          Big Room Studios                                                   ! Unliquidated
          77 Fortress Road                                                   ! Disputed
          London NW5 1AG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Pudsey"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Denmark 92 APS                                                     ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Diagonal Televisio SAU and
          A Contracorriente Films SI Spain                                   ! Contingent
          c/o Celsius Entertainment LTD                                      ! Unliquidated
          29 Brook Mews North Hyde Park                                      ! Disputed
          London W2 3BW England
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dico Filme LLC                                                     ! Contingent
          Attn Ivan Orlic                                                    ! Unliquidated
          9229 Sunset Blvd Ste 610                                           ! Disputed
          West Hollywood, CA 90069
                                                                                             Trade debt - Licensor and
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Party to NOA - "Pele"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Disconnect LLC                                                     ! Contingent
          Attn Business Affairs                                              ! Unliquidated
          9000 Sunset Blvd Ste 600                                           ! Disputed
          West Hollywood, CA 90069
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          DKT Films Limited
          c/o Content Media Corporation                                      ! Contingent
          International Limited as agent                                     ! Unliquidated
          19 Heddon Street                                                   ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dog License Limited                                                ! Contingent
          Big Room Studios                                                   ! Unliquidated
          77 Fortress Road                                                   ! Disputed
          London NW5 1AG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Pudsey"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,750.12
          Dogwoof LTD                                                        ! Contingent
          19-23 Ironmonger Row                                               ! Unliquidated
          London EC1V 3QN, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          E&N Investments LLC
          c/o Cohen Gardner LLP                                              ! Contingent
          Attn Evan Arnold                                                   ! Unliquidated
          345 N Maple Drive Ste 181                                          ! Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $727.41
          E1 Entmnt Int’l                                                    ! Contingent
          134 Peter St Ste 700                                               " Unliquidated
          Toronto
          Ontario, Canada M5V 2H2                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,293.28
          Ealing Metro International                                         ! Contingent
          Attn Natalie Brenner                                               ! Unliquidated
          16 Lincoln's Inn Fields                                            ! Disputed
          London WC2A 3ED, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          East West Bank
          Attn Chanell Chen & Deborah Acoca                                  ! Contingent
          Entertainment Banking Group                                        ! Unliquidated
          9378 Wilshire Blvd                                                 ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Skiptrace"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Eastgate Pictures                                                  ! Contingent
          5329 South Slauson Avenue                                          ! Unliquidated
          Culver City, CA 90230                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Electric Distribution                                              ! Contingent
          962 N La Cienega Blvd                                              ! Unliquidated
          West Hollywood, CA 90069                                           ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Element Pictures Limited and
          Skopia Film Sp z o o                                               ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Eleven Foot Pole                                                   ! Contingent
          125 Watts Street 1st Floor                                         ! Unliquidated
          New York, NY 10013                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,279.95
          Elle Driver                                                        ! Contingent
          66, Rue de Miromesnil                                              " Unliquidated
          Paris France 75008
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $454.50
          Ellen M Krass Productions Inc                                      ! Contingent
          14711 Leadwell St                                                  ! Unliquidated
          Van Nuys, CA 91405                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $162,267.03
          Embankment Films
          Attn Libby Darcy                                                   ! Contingent
          Little Ashlake                                                     ! Unliquidated
          Ashlake Copse Road                                                 ! Disputed
          Ryde PO33 4EY
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Endeavor Content                                                   ! Contingent
          Attn Ryan Friscia                                                  ! Unliquidated
          9601 Wilshire Blvd                                                 ! Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,800.00
          Endgame Entertainment                                              ! Contingent
          9100 Wilshire Blvd                                                 " Unliquidated
          Suite 100W
          Beverly Hills, CA 90212                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          EP Frank Limited                                                   ! Contingent
          21 Mespil Road                                                     ! Unliquidated
          Dublin 4 Ireland                                                   ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          EP Sacred Deer Limited                                             ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $380,120.04
          Europacorp
          Attn Simon Briot-Romer                                             ! Contingent
          Cite du Cinema                                                     " Unliquidated
          20 Rue Ampere 93413                                                " Disputed
          St Denis Cedex France
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          European Film Bonds A/S                                            ! Contingent
          Attn Per Neumann & Johan Ewing                                     ! Unliquidated
          Knabrostraede 30                                                   ! Disputed
          1210 Copenhagen K
          Denmark                                                                           Assignee under Notice of Assignment - "On Chesil
                                                                             Basis for the claim:
                                                                             Beach, " "A Royal Night Out," and "Their Finest Hour and a Half."
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes


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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,614.33
          Excel Entertainment                                                ! Contingent
          4910 W Amelia Earheart Drive                                       " Unliquidated
          Suite 1
          Salt Lake City, UT 84116                                           " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,320,212.24
          Exclusive Films International LLC                                  ! Contingent
          Attn Business Affairs                                              " Unliquidated
          9100 Wilshire Blvd, Ste 401E
          Beverly Hills, CA 90212                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor and Assignee under Notice of
                                                                             Assignment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Exclusive Media Distribution LLC                                   ! Contingent
          and Rush Film Holdings LLC                                         ! Unliquidated
          Attn Business Affairs                                              ! Disputed
          9100 Wilshire Blvd Ste 401E
          Los Angeles, CA 90012                                              Basis for the claim:    Assignee under Notice of Assignment - "Rush"
                                                                             (Licensor)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $304,652.38
          Exclusive Media Group                                              ! Contingent
          Attn Business Affairs                                              ! Unliquidated
          9100 Wilshire Blvd Ste 401E                                        ! Disputed
          Los Angeles, CA 90012
                                                                             Basis for the claim:    Trade debt - Licensor and Assignee under Notice of
          Date(s) debt was incurred
                                                                             Assignment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Film Bridge International Inc                                      ! Contingent
          Attn Lori Matheson                                                 ! Unliquidated
          1316 Third St Promenade Ste 105                                    ! Disputed
          Santa Monica, CA 90401
                                                                                              Trade debt - Licensor and/or agent to Licensor
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             For notification purposes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Film Finances Inc                                                  ! Contingent
          15 Conduit Street                                                  ! Unliquidated
          London W1S 2XJ, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
          Last 4 digits of account number                                    Gate"
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Film Finances, Inc                                                 ! Contingent
          Attn James Shirras/Gregg Trattner                                  ! Unliquidated
          9000 Sunset Boulevard Suite 1400                                   ! Disputed
          West Hollywood, CA 90069
                                                                                             Assignee under Notice of Assignment- "Bel Canto,"
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             "Fisherman's Friend," "Pudsey," "Colette," "Heartbeats," "Breathe,"
          Last 4 digits of account number                                    Elvis & Me," "Final Portrait," "Finding Your Feet," "Jane Got A Gun,"
                                                                             "Mechanic 2," "Parkland," "Pele," "Rush,""Unlocked."
                                                                             Is the claim subject to offset?   " No ! Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Film Finances, Inc                                                 ! Contingent
          250 The Esplanade Ste 204                                          ! Unliquidated
          Toronto, Ontario M5A 1J2                                           ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Maudie"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Film London Limited                                                " Contingent
          Suite 6-10 Tea Building                                            ! Unliquidated
          56 Shoreditch High Street
                                                                             ! Disputed
          London E1 6JJ, UK
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Filmrise                                                           ! Contingent
          Attn Melissa Wohl                                                  ! Unliquidated
          220 36th Street Unit 4A                                            ! Disputed
          Brooklyn, NY 11232
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Final Portrait Commissioning Ltd                                   ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Finding Your Feet Limited                                          ! Contingent
          Attn Andrew Berg                                                   ! Unliquidated
          14 David Mews                                                      ! Disputed
          London W1U 6EQ, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Finding your
          Date(s) debt was incurred
                                                                             feet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $488.35
          First Position Films                                               ! Contingent
          c/o Bess Kargman                                                   ! Unliquidated
          5659 West 8th Street                                               ! Disputed
          Los Angeles, CA 90036
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes


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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Fisherman Films Limited                                            ! Contingent
          48 Beack Street                                                    ! Unliquidated
          London W1F 9RL, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Fisherman's
          Last 4 digits of account number                                    Friend"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4.70
          Foresight Unlimited                                                ! Contingent
          2934 1/2 Beverly Glen                                              " Unliquidated
          Suite 900
          Los Angeles, CA 90077                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,300.00
          Fortissimo Films                                                   ! Contingent
          Van Diemenstraat 100                                               " Unliquidated
          1013 CN
          Amsterdam Netherlands                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $42,586.83
          Fortitute International                                            ! Contingent
          15260 Ventura Blvd                                                 ! Unliquidated
          Suite 1040                                                         ! Disputed
          Sherman Oaks, CA 91403
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Fotokem                                                            ! Contingent
          2801 W Alameda Avenue                                              ! Unliquidated
          Burbank, CA 91505                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Labs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Four In A Billion Pictures LLC                                     ! Contingent
          Attn Geeta V Patel                                                 ! Unliquidated
          5121 Westpark Dr Unit 10                                           ! Disputed
          North Hollywood, CA 91601
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,900.19
          Front Row Filmed Entertainment
          Al Garhoud Building                                                ! Contingent
          Plot P #134                                                        ! Unliquidated
          Garhoud Off #301                                                   ! Disputed
          DUBAI 49714
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Georgia Film Fund 38 LLC                                           ! Contingent
          8200 Wilshire Blvd Third Fl                                        ! Unliquidated
          Beverly Hills, CA 90211                                            ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,015.10
          Global Screen GMBH                                                 ! Contingent
          Sonnestrasse 21 D 80331                                            ! Unliquidated
          Munchen GERMANY                                                    ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          GNO Films Limited                                                  ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
           24 Hanway St                                                      ! Disputed
           London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          GNO Films Limited                                                  ! Contingent
          Attn Mark Woolley                                                  ! Unliquidated
          c/o North Light Film Studios Brook                                 ! Disputed
          Brooks Mill Armitage Bridge
          Huddersfield HD4 7, UK                                                             Assignee under Notice of Assignment - "A Royal
                                                                             Basis for the claim:
                                                                             Night Out" (Licensor)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Gnomes Limited                                                     ! Contingent
          c/o 3QU Animation LLC                                              ! Unliquidated
          PO Box 4220                                                        ! Disputed
          Greenwich, CT 06831
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Golan Films Limited                                                ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London W1F 9JG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - On Chesil
          Date(s) debt was incurred
                                                                             Beach
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,172.08
          Goldcrest Films International                                      ! Contingent
          65-66 Dean Street                                                  ! Unliquidated
          London W1D 4PL, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,157.93
          Good Machine Int'l                                                 ! Contingent
          417 Canal Street 4th Floor                                         " Unliquidated
          New York, NY 10013
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Goon 2 Productions Inc                                             ! Contingent
          777 Kipling Ave Unit 200                                           ! Unliquidated
          Toronto ON M8Z 5Z4                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $61,190.40
          Great Point Media Limited                                          ! Contingent
          14 Floral Street                                                   ! Unliquidated
          3rd Floor                                                          ! Disputed
          London WC2E 9DH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Greg M Seigel CPA                                                  ! Contingent
          182321 Ventura Boulevard Ste 915                                   ! Unliquidated
          Tarzana, CA 91356                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For notification purposes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Guild of Assassins Ltd                                             ! Contingent
          74 Riversdale Road                                                 ! Unliquidated
          London N5 2JX, UK                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $62,276.08
          Gutta Percha Productions                                           ! Contingent
          Attn Keith Bank                                                    ! Unliquidated
          600 Central Avenue Ste 390                                         ! Disputed
          Highland Park, IL 60035
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Hanway Films Limited                                               ! Contingent
          Attn Peter Watson & Justin Kelly                                   ! Unliquidated
          24 Hanway Street                                                   ! Disputed
          London W1T 1UH, UK
                                                                                             Assignee under Notice of Assignment - "Their Finest
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Hour and a Half", "A Royal Night Out"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,470,224.42
          Hanway Films Ltd                                                   ! Contingent
          Attn Beverely Cullen                                               " Unliquidated
          24 Hanway Street
          London W1T 1UH, UK                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Hanway Highrise Limited                                            ! Contingent
          24 Hanway Street                                                   ! Unliquidated
          London W1T 1UH, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          HanWay Lennon Limited                                              ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Hanway Storm Limited                                               ! Contingent
          24 Hanway Street                                                   ! Unliquidated
          London W1T 1UH, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Hanway Swallows Limited                                            ! Contingent
          24 Hanway Street                                                   ! Unliquidated
          London W1T 1UH, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Head Gear Films FN LTD                                             ! Contingent
          Ashley House 12 Great Portland St                                  ! Unliquidated
          London W1W 8QN, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Fisherman's
          Last 4 digits of account number                                    Friend"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Heartbeats Production LLC                                          ! Contingent
          Attn Sriram Das and Shara Kay                                      ! Unliquidated
          2924 1/2 Main Street                                               ! Disputed
          Santa Monica, CA 90405
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Heartbeats"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          High Strung LLC                                                    ! Contingent
          Attn Michael Damian                                                ! Unliquidated
          8530 Wilshire Blvd Ste 200                                         ! Disputed
          Beverly Hills, CA 90211
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Hiko Cinema LLC                                                    ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.01
          Honeytrap LTD                                                      ! Contingent
          52 Talbot Road                                                     ! Unliquidated
          London N6 4QP, UK                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,101.77
          Hyde Park International                                            ! Contingent
          15456 Ventura Blvd Suite 302                                       " Unliquidated
          Sherman Oaks, CA 91403
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $463,273.71
          Icon Entertainment Inc                                             ! Contingent
          Solar House 1st Floor                                              " Unliquidated
          915 High Road
          London N12 8QJ, UK                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ifeatures Limited                                                  ! Contingent
          First Floor 71 Dame Street                                         ! Unliquidated
          Dublin 2 Ireland                                                   ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $209.66
          IM GLobal, LLC                                                     ! Contingent
          8322 Beverly Blvd                                                  " Unliquidated
          Los Angeles, CA 90048
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,612.50
          Image Entertainment                                                ! Contingent
          20525 Nordhoff St Suite 200                                        " Unliquidated
          Chatsworth, CA 91311
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $170,002.35
          Independent Film Sales                                             ! Contingent
          Attn Asia Muci                                                     ! Unliquidated
          195 Wardour St                                                     ! Disputed
          London W1F 8ZG, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $171,375.78
          Inferno Entertainment Inc                                          ! Contingent
          1888 Century Park East                                             " Unliquidated
          Suite 1540
          Los Angeles, CA 90067                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ingenious Project Finance Limited                                  ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London WIF 9JG, UK
                                                                                            Assignee under Notice of Assignment- "At Eternity's
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Gate," "On Chesil Beach, " "Their Finest Hour and a Half," and "A
          Last 4 digits of account number                                    Royal Night Out"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $232.19
          Intermedia Film Dist Ltd                                           ! Contingent
          9350 Civic Center Sr                                               " Unliquidated
          Suite 100
          Beverly Hills, CA 90210                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          It Had to Be You LLC                                               ! Contingent
          1666 West 107th St #1C                                             ! Unliquidated
          New York, NY 10025                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          IWS Pudsey Limited                                                 ! Contingent
          Grove House Coombs Wood Court                                      ! Unliquidated
          Steel Park Road Halesowen                                          ! Disputed
          West Midlands B62 8BF, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Pudsey"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jeffrey Klein                                                      ! Contingent
          4651 Morse Ave.                                                    ! Unliquidated
          Sherman Oaks, CA 91423                                             ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For notification purposes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Jellyfish Bloom                                                    ! Contingent
          Attn Business Affairs                                              ! Unliquidated
          400 S. Beverly Drive, Suite 300                                    ! Disputed
          Beverly Hills, CA 90212
                                                                                             Assignee under Notice of Assignment - "Bel Canto,"
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             "The Informer," "Unlocked," "Elvis & Nixon,"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Joy Channel Corporation
          Attn Qun GAO VP                                                    ! Contingent
          c/o Shanghai New Culture Media Grp                                 ! Unliquidated
          444 East Jiangwan Rd 3rd Area                                      ! Disputed
          Shanghai, China 200081
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Skiptrace"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,483.01
          K5 Int'l GMBH                                                      ! Contingent
          Konradinstrasse 5                                                  ! Unliquidated
          Munich GERMANY 81543                                               ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,376.15
          Kaleidoscope Film Distribution Ltd                                 ! Contingent
          6th Floor                                                          ! Unliquidated
          Dufours Place                                                      ! Disputed
          London W1F 7SP, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,468.80
          KEW Media International Ltd Film                                   ! Contingent
          19 Heddon St                                                       ! Unliquidated
          London W1B 4BG, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $37,868.69
          KEW Media TV Deal                                                  ! Contingent
          Attn Matthew Grosser                                               ! Unliquidated
          19 Heddon St                                                       ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          KEW Media TV Deal Pkg 2                                            ! Contingent
          Attn: Matthew Grosser                                              ! Unliquidated
          19 Heddon St                                                       ! Disputed
          London W1B 4BG, UK
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Killer Bees Entertainment Limited                                  ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Kimmell Distribution LLC                                           ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kinobild Releasing LLC                                             ! Contingent
          533 S. Burlingame Ave                                              ! Unliquidated
          Los Angeles, CA 90049                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Kinology                                                           ! Contingent
          Attn Mr Gregoire Melin                                             ! Unliquidated
          30 rue Moret                                                       ! Disputed
          75011 Paris France
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Lakeshore Entertainment Group LLC                                  ! Contingent
          9268 W Third Street                                                ! Unliquidated
          Beverly Hills, CA 90210                                            ! Disputed
          Date(s) debt was incurred
                                                                                              Trade debt - Licensor
                                                                             Basis for the claim:
          Last 4 digits of account number                                    For notification purposes
                                                                             Is the claim subject to offset?   " No ! Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Last Desert Days LLC                                               ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,183.91
          Legacy Rights Limited                                              ! Contingent
          48 Beak Street                                                     ! Unliquidated
          London W1F 9RL, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lev Pictures BV                                                    ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lip Sync Productions LLP                                           ! Contingent
          195 Wardour St                                                     ! Unliquidated
          London W1B 4BG, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Colette"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Look of Love LLC                                                   ! Contingent
          15233 Ventura Blvd                                                 ! Unliquidated
          Ste 610                                                            ! Disputed
          Sherman Oaks, CA 91403
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,097.08
          Lotus Entertainment                                                ! Contingent
          9701 Wilshire Blvd                                                 " Unliquidated
          Suite 800
          Beverly Hills, CA 90212                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $786.67
          Love Child Productions Inc                                         ! Contingent
          1 Atlantic Ave                                                     " Unliquidated
          Toronto, Ontario
          Canada M6K 3E7                                                     " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lowsun Productions Limited                                         ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London W1F 9JG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Final Portrait
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          LT2 Films Limited
          c/o Embankment Films Ltd as agent                                  ! Contingent
          Little Ashlake Ashlake Copse Road                                  ! Unliquidated
          Ryde Isle Of Wigt                                                  ! Disputed
          PO33 4EY, UK
                                                                             Basis for the claim:    Trade debt, Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,987.25
          Magic Light                                                        ! Contingent
          63 Charlotte Street                                                ! Unliquidated
          London W1T 4PG, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $956.18
          Magnify Entertainment LLC                                          ! Contingent
          1055 Thomas Jefferson St NW                                        " Unliquidated
          Suite 650
          Washington, DC 20007                                               " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $523.58
          Magnolia Pictures                                                  ! Contingent
          49 W 27th St 7th Fl                                                ! Unliquidated
          New York, NY 10001                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $868.73
          Mainsail LLC                                                       ! Contingent
          5836 South Pecos Road                                              ! Unliquidated
          Las Vegas, NV 89120                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,786.52
          Majestic Films & Television                                        ! Contingent
          The Quadrangle 4th Floor                                           " Unliquidated
          180 Wardour St
          London W1V 3AA, UK                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $357.43
          Maximum Films Int'l Inc
          400 de Maisonneuve Blvd West                                       ! Contingent
          Suite 1120                                                         " Unliquidated
          Montreal, Quebec                                                   " Disputed
          Canada H3A 1L4
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          ME2 Productions, Inc                                               ! Contingent
          Attn Business Affairs                                              ! Unliquidated
          318 N. Carson St Ste 208                                           ! Disputed
          Carson City, NV 89701
                                                                                            Assignee under Notice of Assignment, Licensor
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             and/or Borrower - The Mechanic 2
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $30.18
          Memento Films International                                        ! Contingent
          9 Cite Paradis                                                     ! Unliquidated
          Paris 75010 FRANCE                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,336.40
          Metfilm Sales                                                      ! Contingent
          Building A Ealing Studios                                          ! Unliquidated
          Ealing Green Ealing                                                ! Disputed
          London, 5 5EP, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $33.15
          Metro Real Entertainment                                           ! Contingent
          16 Lincoln's Inn Fields                                            ! Unliquidated
          London WC2A 3ED, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,726.67
          Metropolis International Sales LTD                                 ! Contingent
          Canon House - 27 London End                                        " Unliquidated
          Beaconsfield
          Bucks HP9 2HN, UK                                                  " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Mike and Marty Productions LLC                                     ! Contingent
          c/o Film Bridge International Inc                                  ! Unliquidated
          as agent                                                           ! Disputed
          1316 Third St Promenande Ste 105
          Santa Monica, CA 90401                                             Basis for the claim:    Assignee under Notice of Assignment - "Beyond
                                                                             Deceit"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,779.91
          Millenium Films                                                    ! Contingent
          Attn Gustavo Santana                                               ! Unliquidated
          6423 Wilshire Boulevard                                            ! Disputed
          Los Angeles, CA 90048
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Minnows Films Limited                                              ! Contingent
          58-60 Rivington Street                                             ! Unliquidated
          London EC2A 3AU, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $80.22
          Modern Verge LLC                                                   ! Contingent
          2211 Broadway Suite 7A                                             " Unliquidated
          New York, NY 10024
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Moneyglass Films Limited                                           ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $293,184.08
          Mongrel Media Inc                                                  ! Contingent
          Attn Michaela Tobin                                                ! Unliquidated
          1028 Queen St West                                                 ! Disputed
          Toronto, ONTARIO MGJ 1H6
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Monterey Media                                                     ! Contingent
          566 Saint Charles Drive                                            ! Unliquidated
          Thousand Oaks, CA 91360                                            ! Disputed
          Date(s) debt was incurred
                                                                                              Trade debt - Licensor
                                                                             Basis for the claim:
          Last 4 digits of account number                                    For notification purposes
                                                                             Is the claim subject to offset?   " No ! Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,649.70
          Moving Pictures Film & Television                                  ! Contingent
          2850 Ocean Park Blvd                                               " Unliquidated
          Suite 292
          Santa Monica, CA 90405                                             " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Muse Entertainment                                                 ! Contingent
          Attn Shawn Rosengarten                                             ! Unliquidated
          3451 St Jacques St                                                 ! Disputed
          H4C 1H1 Montreal, Canada
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $37,129.51
          Myriad Pictures                                                    ! Contingent
          11845 West Olympic Boulevard                                       ! Unliquidated
          Suite 850W                                                         ! Disputed
          Los Angeles, CA 90064
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          National Bank of Canada
          600 Rue de la Gauchetlere West                                     ! Contingent
          Ground Floor                                                       ! Unliquidated
          Montreal Quebec H3B 4L2                                            ! Disputed
          CANADA
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Bel Canto"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Natixis Conficine (Natixis)                                        ! Contingent
          Attn Christophe Vidal                                              ! Unliquidated
          of 6 rue de l'Amiral Hamlin F 75116                                ! Disputed
          Paris, France
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
          Date(s) debt was incurred
                                                                             Gate"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Neue Road Movies Dritte
          Produktionen GmbH                                                  ! Contingent
          c/o Hanway Films Ltd as agent                                      ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Nice Guys LLC                                                      ! Contingent
          Attn: Douglas B. McClure                                           ! Unliquidated
          2434 Main Street                                                   ! Disputed
          Santa Monica, CA 90405
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $184,332.94
          Nu Image, Inc
          (Millenium Films)                                                  ! Contingent
          Attn Gustavo Santana                                               ! Unliquidated
          6423 Wilshire Blvd                                                 ! Disputed
          Los Angeles, CA 90048
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Number 9 Films (Chesil) Limited                                    ! Contingent
          8-9 Stephen Mews                                                   ! Unliquidated
          London W1T 1AF, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor and/or Assignee under Notice
          Last 4 digits of account number                                    of Assignment
                                                                             Is the claim subject to offset?   " No ! Yes
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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Number Nine Films (Limehouse) Ltd                                  ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Odin’s Eye Entertainment
          Attn Michael Favelle                                               ! Contingent
          Level 2 85 The Grand Parade                                        ! Unliquidated
          PO Box 173 - Brighton Le Sands                                     ! Disputed
          2216 SYDNEY, AUSTRALIA
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $579.46
          Odyssey Entertainment                                              ! Contingent
          10 James Street                                                    " Unliquidated
          Covent Garden
          London WC2E 8BT, UK                                                " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Pacific Mercantile Bank                                            ! Contingent
          Attn Dan Jahns and Adrian Ward                                     ! Unliquidated
          9720 Wilshire Blvd Ste 210                                         ! Disputed
          Beverly Hills, CA 90212
                                                                                           Assignee under Notice of Assignment - "Heartbeats"
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             and "Beyond Deceit"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Painted House Films, Inc
          Attn Mary Young Leckie and                                         ! Contingent
          Heather Haldane                                                    ! Unliquidated
          412 Roncesvalles Ave Ste 207                                       ! Disputed
          Toronto ON M6R 2N2
                                                                             Basis for the claim:    Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Paprika Financing LLC                                              ! Contingent
          Attn Mr Luillo Ruiz                                                ! Unliquidated
          43 Mallorca St Floral Park                                         ! Disputed
          San Juan, PR 00917
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Reclaim"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Paradox Entertainment Inc                                          ! Contingent
          Attn Fredrik Malmberg                                              ! Unliquidated
          8484 Wilshire Blvd Ste 570                                         ! Disputed
          Beverly Hills, CA 90211
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Reclaim"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes

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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Parallel Films (Maudie) LTD                                        ! Contingent
          Attn Johanna Hogan & Susan Mullen                                  ! Unliquidated
          Suite 29 The Mall Beacon Court                                     ! Disputed
          Sandyford Dublin 18 Ireland
                                                                             Basis for the claim:    Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,156.87
          Pathe Pictures International                                       ! Contingent
          6 Ramillies Street                                                 " Unliquidated
          London W1F 7TY, UK
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,602.40
          Paular Entertainment                                               ! Contingent
          899 Island Drive                                                   " Unliquidated
          Suite 302
          Rancho Mirage, CA 92270                                            " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          PCF Goon 2 The Movie Inc                                           ! Contingent
          5606 Avenue de Gaspe Ste 703                                       ! Unliquidated
          Montreal Quebec H2T 2A4                                            ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $404.62
          Persistence of Vision Films                                        ! Contingent
          75 Third Place                                                     " Unliquidated
          Suite 302
          Brooklyn, NY 11231                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4.38
          Philomath Films                                                    ! Contingent
          454 1/2 N Spaulding Ave                                            " Unliquidated
          Los Angeles, CA 90036
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Pick of the Litter Movie LLC                                       ! Contingent
          PO Box 3033                                                        ! Unliquidated
          Los Altos, CA 94024                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Pinewood Films Limited                                             ! Contingent
          Attn Robert Norris                                                 ! Unliquidated
          Pinewood Studios Pinewood Road                                     ! Disputed
          Iver, Buchkinghamshire
          SL0 0NH                                                                            Assignee under Notice of Assignment - "Their Finest
                                                                             Basis for the claim:
                                                                             Hour and a Half"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          PM/IN Finance LLC                                                  ! Contingent
          331 Foothill Rd 3rd Fl                                             ! Unliquidated
          Beverly Hills, CA 90210                                            ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Postman Pat: The Movie Ltd                                         ! Contingent
          90 High Holburn                                                    ! Unliquidated
          London WC1V 6XX, UK                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          ProSight Syndicate 110 at Lloyds of                                ! Contingent
          London                                                             ! Unliquidated
          London Underwriting Center Level 7                                 ! Disputed
          3 Minster Court Mincing Lane
          London EC3R 7DD, UK                                                               Assignee under Notice of Assignment - "Beyond
                                                                             Basis for the claim:
                                                                             Deceit" and "Reclaim"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $792,485.53
          Protagonist Pictures Ltd                                           ! Contingent
          Attn Henry Law                                                     " Unliquidated
          42-48 Great Portland Street
          London W1W 7NB, UK                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Pulse Films SPV 1 Limited                                          ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $233.22
          QED Distribution LLC                                               ! Contingent
          1800 Highland                                                      " Unliquidated
          5th Floor
          Los Angeles, CA 90028                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Quickbake Productions Limited                                      ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London W1F 9JG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - A Royal Night
          Date(s) debt was incurred
                                                                             Out
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ralfish Films Limited                                              ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London, W1F 9JG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $148.99
          Ready Refresh by Nestle                                            ! Contingent
          Div of Nestle Waters No America                                    " Unliquidated
          PO Box 856158
          Louisville, KY 40285-6158                                          " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Accounts Payable - Office Water
          Last 4 digits of account number       2120                         Is the claim subject to offset?   " No ! Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Rebel Movie LLC                                                    ! Contingent
          9301 Wilshire Blvd Ste 604                                         ! Unliquidated
          Beverly Hills, CA 90212                                            ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Reclaim Film, LLC
          Attn Gary Hamilton                                                 ! Contingent
          c/o Arclight Films International                                   ! Unliquidated
          Ste 228 Bldg 61 (FSA NO. 40) Driver                                ! Disputed
          Annum Moore Park 2021, Australia
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Reclaim"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $441.81
          Red Granite International Inc                                      ! Contingent
          9255 Sunset Blvd Ste 710                                           ! Unliquidated
          West Hollywood, CA 90069                                           ! Disputed
          Date(s) debt was incurred
                                                                                            Trade debt - Licensor; Assignee under Notice of
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Assignment - "Wolf of Wall Street"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Red Velvet Films Limited                                           ! Contingent
          26 Church Street Bishops Stortford                                 ! Unliquidated
          Herts CM23 2LY, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes


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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $442.27
          Regent Entertainment                                               ! Contingent
          10990 Wilshire Blvd.                                               " Unliquidated
          Los Angeles, CA 90024
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Revolving Movie LLC
          c/o Film Bridge International Inc                                  ! Contingent
          as agent                                                           ! Unliquidated
          1434 6th St Ste 9                                                  ! Disputed
          Santa Monica, CA 90401
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $304.20
          Rezo Films                                                         ! Contingent
          29 rue du Faubourg Poissonniere                                    " Unliquidated
          Paris, France 75009
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ripkin Productions Limited                                         ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London W1F 9TG, UK
                                                                                             Assignee under Notice of Assignment - "Their Finest
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Hour and a Half"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Risk Love LLC                                                      ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Riverstone Pictures (AED) Limited                                  ! Contingent
          Attn Nik Bower                                                     ! Unliquidated
          99 Kenton Road                                                     ! Disputed
          Harrow, Middlesex
          United Kingdom HA3 0AN                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
                                                                             Gate"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,004.05
          Rocket Science Industries LTD                                      ! Contingent
          Attn Thorsten Schumacher                                           ! Unliquidated
          117 Victoria Road Kilburn                                          ! Disputed
          London, England NW6 6TD
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes


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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,215.36
          Rogue Productions Ltd                                              ! Contingent
          2 Fitzroy Street                                                   ! Unliquidated
          Ponsonby Auckland 1021                                             ! Disputed
          New Zealand
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rosenfeld Meyer & Susman LLP                                       ! Contingent
          Attn Luke Lieberman                                                ! Unliquidated
          232 North Canon Drive                                              ! Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    For notification purposes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,874.62
          Rothko Pictures Limited                                            ! Contingent
          Willow Farm Barn Further Street                                    ! Unliquidated
          Assington CO10 5LD, UK                                             ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          RPC Dom Limited                                                    ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Run 71 Limited                                                     ! Contingent
          Electric Works                                                     ! Unliquidated
          Sheffield Digital Campus                                           ! Disputed
          Sheffield S1 2BJ, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Rush Film Holdings (CCP-EMG)                                       ! Contingent
          9100 Wilshire Blvd                                                 ! Unliquidated
          Ste 401E                                                           ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Direction to
          Date(s) debt was incurred
                                                                             Pay"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $800.00
          Samuel Goldwyn Films                                               ! Contingent
          8765 Washington Boulevard                                          ! Unliquidated
          Suite 203                                                          ! Disputed
          Culver City, CA 90232
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,037.02
          SBS Productions                                                    ! Contingent
          12 Rue de Silly                                                    " Unliquidated
          Boulogne 92100 FRANCE
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,727.87
          SC Films International LTD                                         ! Contingent
          3A Lower James Street                                              ! Unliquidated
          Soho                                                               ! Disputed
          London W1F 9EH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          SCG Power Rangers LLC                                              ! Contingent
          10100 Santa Monica Blvd                                            " Unliquidated
          Suite 500
          Los Angeles, CA 90067                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $60,441.18
          Screen Media Ventures                                              ! Contingent
          757 Third Ave 3rd Floor                                            " Unliquidated
          New York, NY 10017
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $240,190.22
          Seville/E-One Ent
          Attn Ragavi Akilananthan                                           ! Contingent
          400 de Maisonneuve Blvd                                            ! Unliquidated
          West #1120                                                         ! Disputed
          Montreal, Quebec H3A 1L4
                                                                             Basis for the claim:    Trade debt -as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $435.00
          Shoreline Entertainment                                            ! Contingent
          1875 Century Park East                                             " Unliquidated
          Suite 600
          Los Angeles, CA 90067                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $32.06
          Showcase Entertainment                                             ! Contingent
          23679 Calabasas Road                                               ! Unliquidated
          Suite 80                                                           ! Disputed
          Calabasas, CA 91302
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $139,760.29
          Sierra Affinity LLC                                                ! Contingent
          Attn Cynthia Griffiths                                             ! Unliquidated
          9378 Wilshire Blvd Ste 210                                         ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Silver Reel Entertainment Mezzanine                                ! Contingent
          Attn Roger H Hanson                                                ! Unliquidated
          c/o Silver Reel GP LTD, PO Box 309                                 ! Disputed
          Ugland House, Grand Cayman KY1-1104
          Cayman Islands                                                     Basis for the claim:    Assignee under Notice of Assignment -"Breathe" and
                                                                             "Unlocked"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Silver Reel FS GP LTD
          Attn Paras Malde                                                   ! Contingent
          Dms House 20 Genesis Close                                         ! Unliquidated
          PO Box 1344, Grand Cayman KY1-1108                                 ! Disputed
          Cayman Islands
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Breathe
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Sinload Productions Limited                                        ! Contingent
          Attn Directors                                                     ! Unliquidated
          15 Golden Square                                                   ! Disputed
          London WIF 9JG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
          Date(s) debt was incurred
                                                                             Gate"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Sky Media                                                          ! Contingent
          Suite 1606 KGIT Center 1601                                        ! Unliquidated
          Sangam Dong                                                        ! Disputed
          Mapo-Gu Seoul, Korea
                                                                             Basis for the claim:    Trade debt - Labs
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Slow West Film Limited                                             ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Small Shack Productions Inc
          Attn Mary Sexton                                                   ! Contingent
          2 Monk Lane St. John's                                             ! Unliquidated
          Newfoundland and Labrador                                          ! Disputed
           A1E 1M8
                                                                             Basis for the claim:    Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes

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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $342.23
          Southern Star Film Sales                                           ! Contingent
          8 West Street 10th Floor                                           " Unliquidated
          North Sydney
          No Sydney Australia NSW 2060                                       " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          SP JGAG LLC                                                        ! Contingent
          1036 Carol Drive                                                   ! Unliquidated
          West Hollywood, CA 90069                                           ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Spafax                                                             ! Contingent
          575 Anton Boulevard, Suite 1020                                    ! Unliquidated
          Costa Mesa, CA 92626                                               ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Labs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          SPK Pictures AG                                                    ! Contingent
          Attn Karl Spoerri                                                  ! Unliquidated
          Goethestrasse 12 8001                                              ! Disputed
          Zurich, Switzerland
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
          Date(s) debt was incurred
                                                                             Gate"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $679.66
          Starz Media                                                        ! Contingent
          2950 North Hollywood Way                                           ! Unliquidated
          3rd Floor                                                          ! Disputed
          Burbank, CA 91505
                                                                             Basis for the claim:    Trade debt -Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $56,498.15
          Storyboard Media, LLC                                              ! Contingent
          1524 Cloverfield Ave                                               " Unliquidated
          Suite F
          Santa Monica, CA 90404                                             " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Studio 100 Film GmbH                                               ! Contingent
          Sapporobogen 6-8 80637                                             ! Unliquidated
          Muenchen Germany                                                   ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $130,919.21
          Studio 100 Media                                                   ! Contingent
          Attn Stefan Breyer                                                 ! Unliquidated
          Neumarkter Str 18-20                                               ! Disputed
          81673 Munchen Germany
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Studio Chizu LLP
          Attn Yuichiro SAITO                                                ! Contingent
          5F Shibusawa Ogikubo Bldg                                          ! Unliquidated
          3-3-3 Amanuma Suginami-ku                                          ! Disputed
          Tokyo 167-0032
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Studio Ponoc Inc                                                   ! Contingent
          Niikura Bldg 2-10-21 Kyonancho                                     ! Unliquidated
          Musashino-shi                                                      ! Disputed
          Tokyo 180-0023 Japan
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $58,923.66
          Submarine Entertainment                                            ! Contingent
          525 Broadway                                                       ! Unliquidated
          Suite 601                                                          ! Disputed
          New York, NY 10012
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Suburbicon Black LLC                                               ! Contingent
          c/o Jellyfish Bloom as Agent                                       ! Unliquidated
          400 S Beverly Drive Ste 300                                        ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $24,350.66
          Summit Entertainment                                               ! Contingent
          Castorweg 22-24                                                    " Unliquidated
          CURACAO
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,434.72
          Swonderful Rights Ltd                                              ! Contingent
          Willow Farm Barn Further Street                                    ! Unliquidated
          Assington CO1O 5LD, UK                                             ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes



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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Sylvic Holding LLC                                                 ! Contingent
          4651 Morse Ave                                                     ! Unliquidated
          Sherman Oaks, CA 91423                                             ! Disputed
          Date(s) debt was incurred
                                                                                            Distribution Rights and Services Agreements re Bad
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Education and Collette
                                                                             Is the claim subject to offset?   " No ! Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Tee Pot Films                                                      ! Contingent
          6/56 Birrga Road Bellevue Hill                                     ! Unliquidated
          NSW Australia 2023                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Terra Mater Factual Studios GMBH                                   ! Contingent
          Wambachergasse 2                                                   ! Unliquidated
          1130 Vienna Austria                                                ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          The British Film Institute                                         ! Contingent
          21 Stephen Street                                                  ! Unliquidated
          London WIT 1LN, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - Colette
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $359.06
          The Movie Group                                                    ! Contingent
          1900 Ave of the Stars                                              " Unliquidated
          Suite 1425
          Los Angeles, CA 90067                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.94
          The Salt Co Int'l LTD                                              ! Contingent
          1a Adpar Street                                                    ! Unliquidated
          3rd Floor                                                          ! Disputed
          London W2 1DE, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          The Terraces                                                       ! Contingent
          12711 Ventura Boulevard Ste 100                                    ! Unliquidated
          Studio City, CA 91604                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For notification purposes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          The Welsh Ministers                                                ! Contingent
          Attn Natasha Hale                                                  ! Unliquidated
          Cathays Park, Cardiff                                              ! Disputed
          CF10 3NQ
                                                                                             Assignee under Notice of Assignment - "Their Finest
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Hour and a Half"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $71,954.01
          The Works International
          Attn Sarah Smith                                                   ! Contingent
          5th Floor Fairgate House                                           " Unliquidated
          78 New Oxford St                                                   " Disputed
          London WC1A 1HB, UK
                                                                             Basis for the claim:    Trade debt - as Licensor and/or agent for Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Their Finest Hour                                                  ! Contingent
          Attn Amanda Posey                                                  ! Unliquidated
          53 Greek Street                                                    ! Disputed
          London W1D 3DR, UK
                                                                                             Assignee under Notice of Assignment - "Their Finest
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Hour and a Half"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,227.14
          Those Characters from Cleveland Inc                                ! Contingent
          One American Road                                                  " Unliquidated
          Cleveland, OH 44144
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $795.60
          Timeless Films
          Attn Gareth Kamp                                                   ! Contingent
          5 Loudoun Road                                                     ! Unliquidated
          St John's Wood                                                     ! Disputed
          LONDON NW8 0DL, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Tom J Hull & Co Inc                                                ! Contingent
          21601 Devonshire St Ste 128                                        ! Unliquidated
          Chatsworth, CA 91311                                               ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll management company - for notification
          Last 4 digits of account number                                    purposes
                                                                             Is the claim subject to offset?   " No ! Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $684.09
          Touchdown Productions                                              ! Contingent
          484 West 43rd Street                                               ! Unliquidated
          Suite 335                                                          ! Disputed
          New York, NY 10036
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes

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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,616.57
          Two for Joy Productions                                            ! Contingent
          123 Regent's Park Road                                             ! Unliquidated
          London NW1 8BE, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          TWOWS LLC                                                          ! Contingent
          9255 Sunset Blvd Ste 710                                           ! Unliquidated
          West Hollywood, CA 90069                                           ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Wolf of Wall
          Last 4 digits of account number                                    Street"
                                                                             Is the claim subject to offset?   " No ! Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ultimate Pictures PLC                                              ! Contingent
          Attn Charlotte Walls                                               ! Unliquidated
          2nd Floor, Tichfield House                                         ! Disputed
          69-85 Tabernacle St
          London EC2A 4RR, UK                                                Basis for the claim:    Assignee under Notice of Assignment -Finding your
                                                                             feet
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,743.66
          Umedia SA                                                          ! Contingent
          235 Avenue Louise                                                  ! Unliquidated
          1050 Brussels                                                      ! Disputed
          BELGIUM
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Union Bank N A                                                     ! Contingent
          1901 Avenue of the Stars                                           ! Unliquidated
          Suite 601                                                          ! Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Wolf of Wall
          Date(s) debt was incurred
                                                                             Street"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          United Entertainment LTD                                           ! Contingent
          Wilhemstrasse 4                                                    ! Unliquidated
          30101 Hanover                                                      ! Disputed
          Germany
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Unlocked Distribution Limited                                      ! Contingent
          18 Broadwick Street                                                ! Unliquidated
          London W1F 8HS, UK                                                 ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes


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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Unlocked Distribution Limited                                      ! Contingent
          Attn Jan Hutchinson                                                ! Unliquidated
          6 Queensmill Road                                                  ! Disputed
          London SW6 5J3, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Unlocked"
          Date(s) debt was incurred
                                                                             (Licensor)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $87,597.64
          Velvet Octopus LTD                                                 ! Contingent
          3a Lower James Street                                              " Unliquidated
          Soho London W1F 9EH
                                                                             " Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Vertigo Distribution LTD
          Vertigo Films LTD                                                  ! Contingent
          Big Room Studios                                                   ! Unliquidated
          77 Fortress Road                                                   ! Disputed
          London NW5 1AG, UK
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "Pudsey"
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.10
          Vesuvio Entertainment Corp                                         ! Contingent
          600 Spring St                                                      " Unliquidated
          Penthouse 5
          Los Angeles, CA 90014                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4.42
          Visit Films                                                        ! Contingent
          89 5th Avenue                                                      " Unliquidated
          Suite 806
          New York, NY 10003                                                 " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Viva Pictures Distribution LLC                                     ! Contingent
          1539 Westwood Blvd                                                 ! Unliquidated
          Los Angeles, CA 90024                                              ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,986.49
          Voltage Pictures                                                   ! Contingent
          116 North Robertson Boulevard                                      " Unliquidated
          Ste 200
          Los Angeles, CA 90048                                              " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes


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 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Walk Home Productions LLC                                          ! Contingent
          Attn Tamiko Benjamin                                               ! Unliquidated
          121 Varick Street Suite 802                                        ! Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "At Eternity's
          Date(s) debt was incurred
                                                                             Gate"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,275.00
          Walker George Films LTD                                            ! Contingent
          4th Floor Threshold House                                          " Unliquidated
          65-69 Sheperds Bush Green
          London UK W12 8QE                                                  " Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $619.66
          West End Films                                                     ! Contingent
          5-7 Hillgate Street                                                ! Unliquidated
          London W8 7SP, UK                                                  ! Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          What They Had LLC                                                  ! Contingent
          c/o Jellyfish Bloom as Agent                                       ! Unliquidated
          400 S Beverly Drive #300                                           ! Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,289.59
          Whiston Pictures Limited                                           ! Contingent
          First Floor                                                        ! Unliquidated
          50-54 Clerkenwell Road                                             ! Disputed
          London, England, EC1M 5PS, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Wild Wag Productions                                               ! Contingent
          1411 5th Street                                                    ! Unliquidated
          Suite 400                                                          ! Disputed
          Santa Monica, CA 90401
                                                                             Basis for the claim:    Assignee under Notice of Assignment - "The
          Date(s) debt was incurred
                                                                             Informer"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Wildgaze Films (Brooklyn) Limited                                  ! Contingent
          c/o Hanway Films Limited as Agent                                  ! Unliquidated
          24 Hanway St                                                       ! Disputed
          London W1T 1UH, UK
                                                                             Basis for the claim:    Trade debt - Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   " No ! Yes



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 3.290     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Worldview Entertainment Capital LLC                               ! Contingent
           1384 Broadway 25th Fl                                             ! Unliquidated
           New York, NY 10018                                                ! Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.291     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,526.79
           WW Dance LLC                                                      ! Contingent
           1755 York Avenue                                                  ! Unliquidated
           New York, NY 10128                                                ! Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes
 3.292     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           YLK Distribution LLC                                              ! Contingent
           2000 Fashion Show Dr #6201                                        ! Unliquidated
           Las Vegas, NV 89101                                               ! Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Licensor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   " No ! Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Babok & Robinson LLP
           Attys for Pacific Mercantile Bank                                                          Line     3.188
           9201 Wilshire Blvd Ste 303
           Beverly Hills, CA 90212                                                                    !      Not listed. Explain


 4.2       Babok & Robinson LLP
           Attys for Comerica                                                                         Line     3.50
           9201 Wilshire Blvd Ste 303
           Beverly Hills, CA 90210                                                                    !      Not listed. Explain


 4.3       Celsius Entertainment LTD
           29 Brook Mews North                                                                        Line     3.43
           Hyde Park
           London W2 3BW England                                                                      !      Not listed. Explain


 4.4       Disconnect LLC
           Attn Business Affairs                                                                      Line     3.60
           14301 Caliber Dr Ste 300
           Oklahoma City, OK 73134                                                                    !      Not listed. Explain


 4.5       EuropaCorp
           137 rue du Faubourg Saint Honore                                                           Line     3.79
           75008 Paris France
                                                                                                      !      Not listed. Explain

 4.6       Final Portrait Commissioning Ltd
           Attn Nik Bower                                                                             Line     3.91
           99 Kenton Road
           Middlesex, UK HA3 0AN                                                                      !      Not listed. Explain




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          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.7      Four in a Billion Pictures LLC
          Attn Geeta V Patel Agent                                                               Line   3.99
          80 Prospect Ave
          Long Beach, CA 90803                                                                   !      Not listed. Explain


 4.8      Four in a Billion Pictures LLC
          Attn Geeta V Patel                                                                     Line   3.99
          930 5th St Apt 204
          Santa Monica, CA 90403                                                                 !      Not listed. Explain


 4.9      Gipson Hoffman and Pancione
          Attn G Raymond F Gross Esq                                                             Line   3.190                              For notification
          1901 Avenue of the Stars 11th Fl                                                                                                 purposes
          Los Angeles, CA 90067                                                                  !      Not listed. Explain


 4.10     Highland Film Group LLC
          9200 Sunset Blv Ste 600                                                                Line   3.101
          West Hollywood, CA 90069
                                                                                                 !      Not listed. Explain

 4.11     Jason S. Pomerantz
          Pachulski Stang Ziehl & Jones                                                          Line   3.30
          10100 Santa Monica Blvd
          13th Floor                                                                             !      Not listed. Explain

          Los Angeles, CA 90067-4003

 4.12     Kaleidoscope Film Distribution Ltd
          4th Floor 104-108 Oxford St                                                            Line   3.140
          London W1D 1LP, UK
                                                                                                 !      Not listed. Explain

 4.13     Loeb & Loeb LLP
          10100 Santa Monica Blvd                                                                Line   3.273
          Ste 2200
          Los Angeles, CA 90067                                                                  !      Not listed. Explain


 4.14     Lorton International Sales
          as agent for Bros the Film Limited                                                     Line   3.38
          Solent House Alma Road
          Southhampton Hampshire                                                                 !      Not listed. Explain

          England SO14 6UY

 4.15     Lorton International Sales
          as agent for Two for Joy Production                                                    Line   3.269
          Solent House Alma Road
          Southhampton Hampshire                                                                 !      Not listed. Explain
          England SO14 6UY

 4.16     Mainsail, LLC
          3440 E Russell Road                                                                    Line   3.134
          Las Vegas, NV 89120
                                                                                                 !      Not listed. Explain

 4.17     Mongrel International
          a division of Mongrel Media Inc                                                        Line   3.174
          1352 Dundas St. West
          Toronto ON M6J 1Y2 Canada                                                              !      Not listed. Explain


 4.18     Nice Guys LLC
          Attn Hal Sadoff & Steve Bender                                                         Line   3.182
          1601 Main Street
          Venice, CA 90291                                                                       !      Not listed. Explain



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           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.19      Prosight Specialty Insurance
           ProSight Specialty Mgmt Company Inc                                                   Line      3.202
           Attn David Miercort
           101 N Brand Blvd Ste 1200                                                             !      Not listed. Explain
           Glendale, CA 91203

 4.20      Rocket Science Industries LTD
           140 Wardour St, 5th Fl                                                                Line      3.219
           London, England W1F 8ZT
                                                                                                 !      Not listed. Explain

 4.21      SC Films International LTD
           Attn Simon Crowe CEO                                                                  Line      3.228
           1st Fl 56 Brewer Street
           Soho, London W1F 9TJ, UK                                                              !      Not listed. Explain


 4.22      SC Films International LTD
           Archway 897                                                                           Line      3.228
           Holyrood Street
           London SE1 2EL, UK                                                                    !      Not listed. Explain


 4.23      Seville Pictures Inc dba
           Seville International                                                                 Line      3.231
           455 St Antoine Street West Ste 300
           Montreal Quebec H2Z 1J1                                                               !      Not listed. Explain


 4.24      Suburbicon Black LLC
           c/o Jellyfish Bloom as Agent                                                          Line      3.252
           Attn Alex Walton
           9100 Wilshire Blvd Ste 401E                                                           !      Not listed. Explain

           Beverly Hills, CA 90212


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +   $                  9,018,419.66

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                    9,018,419.66




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 47 of 47
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 1:20-bk-11358-MB                            Doc 1 Filed 07/31/20 Entered 07/31/20 16:33:05                              Desc
                                                              Main Document    Page 66 of 86
 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                             !   Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      ! No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      " Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                            See Attachment to Schedule G
                   government contract


 2.2.        State what the contract or                   Distribution Rights and
             lease is for and the nature of               Services Agreement re
             the debtor's interest                        film title "Colette"

                  State the term remaining
                                                                                        Sylvic Holdings, LLC
             List the contract number of any                                            4651 Morse Ave.
                   government contract                                                  Sherman Oaks, CA 91423


 2.3.        State what the contract or                   *Distribution Rights
             lease is for and the nature of               and Services
             the debtor's interest                        Agreement re film title
                                                          "Bad Education"

                                                          *pending termination
                  State the term remaining
                                                                                        Sylvic Holdings, LLC
             List the contract number of any                                            4651 Morse Ave.
                   government contract                                                  Sherman Oaks, CA 91423




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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                                                        Executory or Non-Executory Contracts             of Leases
                                                                                                   Unexpired 86
         This schedule is subject to supplement. It may include agreements, contracts or leases that have expired on their own terms and/or that do
         not constitute agreements, contracts or leases at all and/or are not executory. Nothing herein shall constitute an admission by the Debtor
         that any item listed on this Attachment is an executory contract or unexpired lease, and the Debtor reserves all rights to challenge
         characterizations of any of the items listed on this Attachment.
               Name of Party                Address of Party            Title of Document                        Title of Film         Approx. Term.
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        Pact, The                                   7/27/2020
     1 LTD.                     England                                 Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        American Masters; Mike Nichols              7/28/2020
     2 LTD.                     England                                 Agreement
         KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG         Distribution        Rumble & Hum (season 1)                     7/30/2020
     3                            England                               Agreement
         KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG         Distribution        Cut From a Different Cloth                  7/31/2020
     4                            England                               Agreement
         Timeless Films           5 Loudoun Road, St John's Wood        Distribution        Happy Family (aka Monster Family)           7/31/2020
     5                            London NW8 0DL, UK                    Agreement
       METRO REAL                 16 Lincoln's Inn Fields, London,      Distribution        That Sugar Film                              8/3/2020
     6 ENTERTAINMENT              WC2A 3ED                              Agreement
       MYRIAD PICTURES, INC.      11845 West Olympic Blvd., Suite       Distribution        Holiday Joy                                 8/10/2020
     7                            850W, Los Angeles, CA 90064           Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        Age of Heroes                               8/17/2020
     8 LTD.                     England                                 Agreement
       DOGWOOF LTD.             19-23 Ironmonger Row, London,           Distribution        Dries                                       8/20/2020
     9                          EC1V 3QN                                Agreement
       CONTENT INT'L. FILM & TV   19 Heddon St., London, W1B 4BG,       Distribution        Eichmann Show, The                          8/24/2020
    10 LTD.                       England                               Agreement
       CONTENT INT'L. FILM & TV   19 Heddon St., London, W1B 4BG,       Distribution        Surprise, The                               8/26/2020
    11 LTD.                       England                               Agreement
         West End Films           5-7 Hillgate St., London W8 7SP       Distribution        Walk With Me                                8/28/2020
    12                                                                  Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        Vault, The                                  8/31/2020
    13 LTD.                     England                                 Agreement
       Swonderful Rights Ltd    Willow Farm Barn, Further Street,       Distribution        The Wind in the Willows (musical play)       3/1/2024
    14                          Assington, C010 5LD, UK                 Agreement
         Swonderful Rights Ltd.   Willow Farm Barn, Further Street,     Distribution        From Here to Eternity (musical play)         3/1/2024
    15                            Assington, C010 5LD, UK               Agreement
       Kaleidoscope Film          6th Floor, Dufours Place, London,     Distribution        I Am Duran (doc/sport)                      6/30/2024
    16 Distribution Limited       W1F 7SP                               Agreement
       Kaleidoscope Film          6th Floor, Dufours Place, London,     Distribution        The Land of Sometimes (animation)            7/1/2025
    17 Distribution Limited       W1F 7SP                               Agreement
         METFILM SALES            Ealing Studios Ealing Green, London   Distribution        Last Breath
                                  W5 5EP England                        Agreement                                                       8/13/2024
    18
         HANWAY FILMS LTD.        24 Hanway St., London W1T 1UH         Distribution        Guest, The                                   9/3/2020
    19                                                                  Agreement
         SEVILLE PICTURES         400 de Maisonneuve Blvd., West        Distribution        Elephant Song                               10/1/2020
    20                            #1120, Montreal, Quebec H3A 1L4       Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        Heartworn Highways Revisited                10/16/2020
    21 LTD.                     England                                 Agreement
       KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG           Distribution        Monochrome: Black, White & Blue             10/16/2020
    22                          England                                 Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,         Distribution        Steve Mcqueen: the Man and Le Mans          10/31/2020
    23 LTD.                     England                                 Agreement
       HANWAY FILMS LTD.        24 Hanway St., London W1T 1UH           Distribution        Nowhere Boy                                 10/31/2020
    24                                                                  Agreement
         HANWAY FILMS LTD.        24 Hanway St., London W1T 1UH         Distribution        Every Thing Will Be Fine                    11/1/2020
    25                                                                  Agreement
         KINOLOGY                 30 rue Moret, 75011 Paris France      Distribution        Mustang                                     11/19/2020
    26                                                                  Agreement
       INDEPENDENT FILM SALES, 195 Wardour St., London, W1B 4BG         Distribution        My Pure Land                                11/26/2020
    27 LTD.                    England                                  Agreement
       SEVILLE PICTURES        400 de Maisonneuve Blvd., West           Distribution        Cut Snake                                   11/30/2020
    28                         #1120, Montreal, Quebec H3A 1L4          Agreement
         West End Films           5-7 Hillgate St., London W8 7SP       Distribution        Learning to Drive                           11/30/2020
    29                                                                  Agreement
       Blumhouse International,   2401 Beverly Blvd., Los Angeles, CA   Distribution        Gift, The                                   12/1/2020
    30 Inc.                       90057                                 Agreement
       CONTENT INT'L. FILM & TV   19 Heddon St., London, W1B 4BG,       Distribution        Diabolical, The                             12/4/2020
    31 LTD.                       England                               Agreement
         Highland Film Group      9200 Sunset Blvd, Suite 600, West     Distribution        Extraction (buy out)                        12/11/2020
    32                            Hollywood, CA 90069                   Agreement
         ALCHEMY                  5900 Wilshire Blvd Ste 2750, Los      Distribution        Meet the Patels                             12/13/2020
    33                            Angeles, CA 90036                     Agreement
         KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG         Distribution        Dream the Impossible                        12/13/2020
    34                            England                               Agreement
       EXCLUSIVE FILMS INT'L      9100 Wilshire Blvd. Ste 401E, Beverly Distribution        Green Inferno, The                          12/15/2020
    35 LIMITED                    Hills, CA 90212 Attn Business Affairs Agreement
       INDEPENDENT FILM SALES,    195 Wardour St., London, W1B 4BG      Distribution        Time of Their Lives, The                    12/21/2020
    36 LTD.                       England                               Agreement
         Eleven Foot Pole LLC     125 Watts Street, 1st Floor, New      Distribution        Where to Invade Next (dom)                  12/30/2020
    37                            York, NY 10013                        Agreement
       Archimedia Productions     223-231 Old Marylebone Road,          Distribution        Palio                                       1/21/2021
    38 Ltd.                       London England NW1 5QT                Agreement
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                                                                     Distribution Corp. - Schedule "G" Attachment
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                                                          Executory or Non-Executory Contracts             of Leases
                                                                                                     Unexpired 86
              Name of Party                   Address of Party            Title of Document                        Title of Film              Approx. Term.
       INDEPENDENT FILM SALES, 195 Wardour St., London, W1B 4BG           Distribution        Jawbone                                          1/23/2021
    39 LTD.                    England                                    Agreement
       Front Row Filmed        Al Garhoud Building, Plot P#134,           Distribution        Citizenfour                                      1/31/2021
    40 Entertainment           Garhoud Off#301, Dubai 49714               Agreement
         DOGWOOF LTD.               19-23 Ironmonger Row, London,         Distribution        Bombshell: The Hedy Lamarr Story                 2/19/2021
    41                              EC1V 3QN                              Agreement
         DOGWOOF LTD.               19-23 Ironmonger Row, London,         Distribution        Westwood: Punk, Icon, Activist                   7/15/2021
    42                              EC1V 3QN                              Agreement
         Honeytrap Ltd.             52 Talbot Road, London N6 4QP         Distribution        Honeytrap                                        2/24/2021
    43                                                                    Agreement
       INDEPENDENT FILM SALES,      195 Wardour St., London, W1B 4BG      Distribution        Kaleidoscope                                     2/28/2021
    44 LTD.                         England                               Agreement
       Embankment Films             Little Ashlake, Ashlake Copse Road,   Distribution        Robot Overlords (Our Robot Overlords)             3/1/2021
    45 Limited                      Ryde, Isle of Wight PO33 4EY          Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Le Ride                                          3/19/2021
    46                              England                               Agreement
       CONTENT INT'L. FILM & TV     19 Heddon St., London, W1B 4BG,       Distribution        Newcomer                                         3/24/2021
    47 LTD.                         England                               Agreement
       CONTENT INT'L. FILM & TV     19 Heddon St., London, W1B 4BG,       Distribution        400 Days                                         3/31/2021
    48 LTD.                         England                               Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Janis: Little Girl Blue                          3/31/2021
    49 LTD.                     England                                   Agreement
       KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG             Distribution        Rolling Stone Magazine: Stories from the Edge     5/2/2021
    50                          England                                   Agreement
         Studio100 Media            Neumarkter Str 18-20, 81673           Distribution        Blinky Bill the Movie                            5/19/2021
    51                              Munchen                               Agreement
       PROTAGONIST PICTURES         42-48 Great Portland St, 4th Fl,      Distribution        Love & Friendship                                5/26/2021
    52 LTD.                         London, W1W 7NB                       Agreement
       KEW MEDIA TV DEAL            19 Heddon St., London W1B 4BG         Distribution        Princess Diana: A Life After Death               5/30/2021
    53                              England                               Agreement
       INDEPENDENT FILM SALES, 195 Wardour St., London, W1B 4BG           Distribution        McKellen: Playing the Part                        6/8/2021
    54 LTD.                    England                                    Agreement
       KEW MEDIA TV DEAL       19 Heddon St., London W1B 4BG              Distribution        Harry & Meghan: A Very Modern Romance            6/28/2021
    55                         England                                    Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Slow West                                        6/30/2021
    56                                                                    Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Swallows and Amazons                              7/5/2021
    57                                                                    Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Frankie Drake Mysteries                          7/12/2021
    58                              England                               Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Crawford                                         7/18/2021
    59                              England                               Agreement
         SEVILLE PICTURES           400 de Maisonneuve Blvd., West        Distribution        Ma Ma                                            7/31/2021
    60                              #1120, Montreal, Quebec H3A 1L4       Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Rich and Acquitted                                8/2/2021
    61                              England                               Agreement
       SC FILMS INTERNATIONAL       3A Lower James St., Soho, London,     Distribution        Monkey King: Hero Is Back (international)         8/3/2021
    62 LTD                          W1F 9EH, United Kingdom               Agreement
       Viva Pictures Distribution   1539 Westwood Blvd, Los Angeles,      Distribution        Monkey King: Hero Is Back (domestic)              8/3/2021
    63 LLC                          CA 90024                              Agreement
       Kaleidoscope Film            6th Floor, Dufours Place, London,     Distribution        Founders, The                                    8/11/2021
    64 Distribution Limited         W1F 7SP                               Agreement
       KEW MEDIA TV DEAL            19 Heddon St., London W1B 4BG,        Distribution        4% - Film's Gender Problem, The                  8/30/2021
    65                              England                               Agreement
         Bloom Media                400 South Beverly Drive, Suite 300,   Distribution        Sea of Trees, The                                 9/8/2021
    66                              Beverly Hills, CA 90212               Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Brooklyn                                         9/18/2021
    67                                                                    Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Truth Is in the Stars, The                       9/18/2021
    68                              England                               Agreement
       CONTENT INT'L. FILM & TV     19 Heddon St., London, W1B 4BG,       Distribution        Golden Years                                     9/27/2021
    69 LTD.                         England                               Agreement
       Kaleidoscope Film            6th Floor, Dufours Place, London,     Distribution        Misery Loves Comedy                              9/30/2021
    70 Distribution Limited         W1F 7SP                               Agreement
         SAMUEL GOLDWYN FILMS 8765 Washington Blvd., Suite 203,           Distribution        Youth in Oregon (domestic)                       10/1/2021
    71                        Culver City, CA 90232                       Agreement
       Viva Pictures Distribution   1539 Westwood Blvd, Los Angeles,      Distribution        A.C.O.R.N.S.: Operation Crack Down (domestic     10/3/2021
    72 LLC                          CA 90024                              Agreement           title for Get Squirrely)
       Terra Mater Factual          Wambachergasse 2, 1130 Vienna         Distribution        Brothers of the Wind                             10/17/2021
    73 Studios GMBH                 Austria                               Agreement
       INDEPENDENT FILM SALES, 195 Wardour St., London, W1B 4BG           Distribution        On the Road                                      11/1/2021
    74 LTD.                    England                                    Agreement
       KEW MEDIA TV DEAL       19 Heddon St., London W1B 4BG              Distribution        All the Wild Horses                              11/1/2021
    75                         England                                    Agreement
         MAINSAIL, LLC              5836 S. Pecos Road, Las Vegas, NV     Distribution        It Had to Be You (2016)                          11/22/2021
    76                              89120                                 Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Breaking the Bank                                12/5/2021
    77 LTD.                     England                                   Agreement
       HANWAY FILMS LTD.        24 Hanway St., London W1T 1UH             Distribution        Anomalisa                                        12/31/2021
    78                                                                    Agreement
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                                                          Executory or Non-Executory Contracts             of Leases
                                                                                                     Unexpired 86
               Name of Party                  Address of Party            Title of Document                       Title of Film            Approx. Term.
         MAGNOLIA PICTURES          49 W 27th St 7th Fl, New York, NY     Distribution        Harry Benson: Shoot First                      1/2/2022
    79                              10001                                 Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Seymour: An Introduction                       1/5/2022
    80                                                                    Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Peggy Guggenheim: Art Addict                   1/6/2022
    81                                                                    Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Book of Love, The                             1/11/2022
    82 LTD.                     England                                   Agreement
       Electric Distribution    962 N. La Cienega Blvd, Los Angeles,      Distribution        Book of Love, the (domestic)                  1/11/2022
    83                          CA 90069                                  Agreement
         DOGWOOF LTD.               19-23 Ironmonger Row, London,         Distribution        Weiner                                        1/15/2022
    84                              EC1V 3QN                              Agreement
         KEW MEDIA TV DEAL          19 Heddon St., London W1B 4BG         Distribution        Bletchley Circle: San Francisco               1/18/2022
    85                              England                               Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Tale of Tales                                 1/22/2022
    86                                                                    Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        High-Rise                                     1/28/2022
    87                                                                    Agreement
         K5 Media Group GMBH        Konradinstrasse 5, Munich 81543       Distribution        Land of Mine                                  1/30/2022
    88                                                                    Agreement
         WORKS, THE                 5th Floor, Fairgate House, 78 New     Distribution        Prime Minister, The                           2/28/2022
    89                              Oxford St., London, WC1A 1HB          Agreement
         WORKS, THE                 5th Floor, Fairgate House, 78 New     Distribution        California Typewriter (Net Deal)               3/1/2022
    90                              Oxford St., London, WC1A 1HB          Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Don't Knock Twice                             3/22/2022
    91 LTD.                     England                                   Agreement
       MAGNOLIA PICTURES        49 W 27th St 7th Fl, New York, NY         Distribution        I Am Not Your Negro (usa Only)                 4/1/2022
    92                          10001                                     Agreement
       Gutta Percha Productions, 600 Central Ave., #390, Highland         Distribution        Tommy's Honour                                4/19/2022
    93 LLC                       Park, IL 60035                           Agreement
       HANWAY FILMS LTD.         24 Hanway St., London W1T 1UH            Distribution        Last Days in the Desert                       4/20/2022
    94                                                                    Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        11 Minutes                                    4/29/2022
    95                                                                    Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Youth in Oregon                                5/1/2022
    96 LTD.                     England                                   Agreement
       Bloom Media              400 South Beverly Drive, Suite 300,       Distribution        Unlocked                                      5/18/2022
    97                          Beverly Hills, CA 90212                   Agreement
         Mongrel International      1028 Queen St. West, Toronto,         Distribution        Date For Mad Mary, A                          5/18/2022
    98                              Ontario MGJ 1H6                       Agreement
       PROTAGONIST PICTURES         42-48 Great Portland St, 4th Fl,      Distribution        Lady Macbeth                                  5/22/2022
    99 LTD.                         London, W1W 7NB                       Agreement
       SC FILMS INTERNATIONAL       3A Lower James St., Soho, London,     Distribution        Air Bound                                     5/22/2022
   100 LTD                          W1F 9EH, United Kingdom               Agreement
       CONTENT INT'L. FILM & TV     19 Heddon St., London, W1B 4BG,       Distribution        1 Mile to You (fka Life At These Speeds)      5/23/2022
   101 LTD.                         England                               Agreement
       Front Row Filmed             Al Garhoud Building, Plot P#134,      Distribution        Tough Luck (season 1)                          6/8/2022
   102 Entertainment                Garhoud Off#301, Dubai 49714          Agreement
       Front Row Filmed             Al Garhoud Building, Plot P#134,      Distribution        Tough Luck (season 2)                          6/8/2022
   103 Entertainment                Garhoud Off#301, Dubai 49714          Agreement
       Front Row Filmed             Al Garhoud Building, Plot P#134,      Distribution        I Am Not Your Negro                           6/20/2022
   104 Entertainment                Garhoud Off#301, Dubai 49714          Agreement
       CONTENT INT'L. FILM & TV     19 Heddon St., London, W1B 4BG,       Distribution        Whitney Can I Be Me                           6/28/2022
   105 LTD.                         England                               Agreement
       SC FILMS INTERNATIONAL       3A Lower James St., Soho, London,     Distribution        Realive                                       7/24/2022
   106 LTD                          W1F 9EH, United Kingdom               Agreement
         Goldcrest Films            65-66 Dean St., London, W1D 4PL       Distribution        All Dogs Go to Heaven                         8/10/2022
   107                                                                    Agreement
         A24 International, LLC     601 West 26th St., Suite 1740, New    Distribution        It Comes At Night                             8/30/2022
   108                              York, NY 10001                        Agreement
         Electric Distribution      962 N. La Cienega Blvd, Los Angeles, Distribution         Outpost, The                                  9/27/2022
   109                              CA 90069                             Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Being AP                                      10/1/2022
   110                                                                    Agreement
         Bloom Media                400 South Beverly Drive, Suite 300,   Distribution        Suburbicon                                    10/26/2022
   111                              Beverly Hills, CA 90212               Agreement
         Great Point Media Limited 14 Floral St., 3rd Floor, London WC2E Distribution         Party, The                                    10/29/2022
   112                             9DH                                   Agreement
         HANWAY FILMS LTD.          24 Hanway St., London W1T 1UH         Distribution        Summer of '92                                 11/5/2022
   113                                                                    Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Manolo: the Boy Who Made Shoes For Lizards    11/30/2022
   114 LTD.                     England                                   Agreement
       KEW MEDIA TV DEAL        19 Heddon St., London W1B 4BG             Distribution        Frankie Drake Mysteries Season 2              12/31/2022
   115                          England                                   Agreement
         Altitude Fim Sales Limited 34 Fouberts Place, London, W1F 7PX Distribution           Eric Clapton: Life in 12 Bars                  1/1/2023
   116                                                                 Agreement
       CONTENT INT'L. FILM & TV 19 Heddon St., London, W1B 4BG,           Distribution        Beside Bowie: The Mick Ronson Story            2/1/2023
   117 LTD.                     England                                   Agreement
       WW Dance, LLC            1755 York Ave., New York, New York        Distribution        Restless Creature: Wendy Whelan                2/2/2023
   118                          10128                                     Agreement
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                                                         Executory or Non-Executory Contracts             of Leases
                                                                                                    Unexpired 86
               Name of Party                 Address of Party            Title of Document                        Title of Film                Approx. Term.
         Goldcrest Films           65-66 Dean St., London, W1D 4PL       Distribution        Slumber                                             2/5/2023
   119                                                                   Agreement
         Altitude Fim Sales Limited 34 Fouberts Place, London, W1F 7PX Distribution          Boy Downstairs, The                                 2/8/2023
   120                                                                 Agreement
         FilmRise                  220 36th St, Unit 4A, Brooklyn, NY    Distribution        Boy Downstairs, The (domestic)                      2/8/2023
   121                             11232                                 Agreement
         Cinetic Media             555 West 25th St., 4th Floor, New     Distribution        Abacus: Small Enough to Jail                       3/25/2023
   122                             York, NY 10001                        Agreement
         MAINSAIL, LLC             5836 S. Pecos Road, Las Vegas, NV     Distribution        Pretend One, The                                   3/27/2023
   123                             89120                                 Agreement
         MAGNOLIA PICTURES         49 W 27th St 7th Fl, New York, NY     Distribution        Gospel According to Andre, The                      5/4/2023
   124                             10001                                 Agreement
         Studio100 Media           Neumarkter Str 18-20, 81673           Distribution        Maya the Bee: The Honey Games                       5/9/2023
   125                             Munchen                               Agreement
         SEVILLE PICTURES          400 de Maisonneuve Blvd., West        Distribution        Ashram, The                                        5/11/2023
   126                             #1120, Montreal, Quebec H3A 1L4       Agreement
       CELSIUS ENTERTAINMENT 249 Grays Inn Road, London, WC1X            Distribution        Bookshop, The                                      5/17/2023
   127 LTD.                  8QZ                                         Agreement
       HANWAY FILMS LTD.     24 Hanway St., London W1T 1UH               Distribution        Killing of a Sacred Deer, the                      5/30/2023
   128                                                                   Agreement
       CONTENT INT'L. FILM & TV    19 Heddon St., London, W1B 4BG,       Distribution        Nothing Like A Dame (previously known as Tea        6/8/2023
   129 LTD.                        England                               Agreement           With Dames)
       PROTAGONIST PICTURES        42-48 Great Portland St, 4th Fl,      Distribution        Beast                                              6/11/2023
   130 LTD.                        London, W1W 7NB                       Agreement
       INDEPENDENT FILM SALES,     195 Wardour St., London, W1B 4BG      Distribution        Escape, The                                        6/15/2023
   131 LTD.                        England                               Agreement
       Independent Film Sales,     195 Wardour St., London, W1B 4BG      Distribution        VS.                                                 7/2/2023
   132 LTD                         England                               Agreement
         Kew Media Film            19 Heddon St., London W1B 4BG         Distribution        Soufra (doc) (Arabic wt English subs)               7/2/2023
   133                             England                               Agreement
         MYRIAD PICTURES, INC.     11845 West Olympic Blvd., Suite       Distribution        #Roxy                                               7/2/2023
   134                             850W, Los Angeles, CA 90064           Agreement
         Kew Media Film            19 Heddon St., London W1B 4BG         Distribution        Dealt (doc)                                         8/2/2023
   135                             England                               Agreement
         Kew Media TV Deal         19 Heddon St., London W1B 4BG         Distribution        Closing Gambit: 1978 Korchnoi Versus Karpov and     8/2/2023
   136                             England                               Agreement           the Kremlin (doc)
         SC Films                  3A Lower James St., Soho, London,     Distribution        Charming (animation)                                8/2/2023
   137                             W1F 9EH, United Kingdom               Agreement
         Altitude Fim Sales Limited 34 Fouberts Place, London, W1F 7PX Distribution          Dead in a Week (Or Your Money Back)                8/30/2023
   138                                                                 Agreement
       Cinema Management           8383 Wilshire Blvd., Ste 320, Beverly Distribution        Searching For Ingmar Berman (doc)                  8/30/2023
   139 Group                       Hills, CA 90211                       Agreement
       Swonderful Rights Ltd       Willow Farm Barn, Further Street,     Distribution        American In Paris - The Musical, An                8/30/2023
   140                             Assington, C010 5LD, UK               Agreement
         Swonderful Rights Ltd.    Willow Farm Barn, Further Street,     Distribution        Red (musical play)                                 8/30/2023
   141                             Assington, C010 5LD, UK               Agreement
         Submarine Entertainment 525 Broadway, Suite 601, New York, Distribution             Pick of the Litter                                 8/31/2023
   142                           NY 10012                           Agreement
         HANWAY FILMS LTD.         24 Hanway St., London W1T 1UH         Distribution        Limehouse Golem, The                               9/15/2023
   143                                                                   Agreement
       Blue Fox Entertainment 2    1801 Century Park East, Los Angeles, Distribution         The Elephant & The Butterfly (French)              9/30/2023
   144 LLC                         California 90067                     Agreement
       Dogwoof / Submarine         19-23 Ironmonger Row, London,         Distribution        The Price of Everything (doc)                      9/30/2023
   145                             EC1V 3QN                              Agreement
         Dogwoof / Submarine       525 Broadway, Suite 601, New York, Distribution           The Price of Everything (doc)                      9/30/2023
   146                             NY 10012                           Agreement
         Submarine Entertainment 525 Broadway, Suite 601, New York, Distribution             Price of Everything, The (US ONLY)                 9/30/2023
   147                           NY 10012                           Agreement
         Bros The Film Ltd         7A Bayham Street, Camden, London, Distribution            Bros: After the Screaming Stops (doc/music)        10/30/2023
   148                             England NW1 0EY                   Agreement
         Dogwoof                   19-23 Ironmonger Row, London,         Distribution        Mountain (doc)                                     10/30/2023
   149                             EC1V 3QN                              Agreement
       Kew Media Int'l Limited     19 Heddon St., London W1B 4BG         Distribution        Agatha and the Truth of Murder (TV Movie) & FF     10/30/2023
   150 Film                        England                               Agreement
       Two For Joy Productions     123 Regent's Park Road, London        Distribution        Two For Joy                                        10/30/2023
   151                             NW1 8BE                               Agreement
         Charades                  17 boulevard Jules Ferry Paris,       Distribution        Mirai (Japanese animation)                         11/30/2023
   152                             France                                Agreement
         Dogwoof                   19-23 Ironmonger Row, London,         Distribution        Bobby Robson: More Than A Manager                  11/30/2023
   153                             EC1V 3QN                              Agreement           (doc/sport)
       INDEPENDENT FILM SALES, 195 Wardour St., London, W1B 4BG          Distribution        Little Woods                                       11/30/2023
   154 LTD.                    England                                   Agreement
       Cinemagic               49 Botanic Ave., Belfast, BT7 1JL         Distribution        Grace and Goliath                                  12/1/2023
   155                                                                   Agreement
         Cinemagic                 49 Botanic Ave., Belfast, BT7 1JL     Distribution        Trainee Filmmakers: Grace and Goliath Behind-      12/1/2023
   156                                                                   Agreement           the-Scenes
       CONTENT INT'L. FILM & TV    19 Heddon St., London, W1B 4BG,       Distribution        Actor Prepares, An                                 12/1/2023
   157 LTD.                        England                               Agreement
       SC FILMS INTERNATIONAL      3A Lower James St., Soho, London,     Distribution        Gnome Alone                                        12/1/2023
   158 LTD                         W1F 9EH, United Kingdom               Agreement
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Case 1:20-bk-11358-MB                                Doc 1 Jaguar
                                                                Filed        07/31/20 Entered 07/31/20 16:33:05
                                                                     Distribution Corp. - Schedule "G" Attachment
                                                                                                                                                           Desc
                                                     Main Document                      Pageand71
                                                          Executory or Non-Executory Contracts             of Leases
                                                                                                     Unexpired 86
               Name of Party                   Address of Party              Title of Document                        Title of Film        Approx. Term.
       Altitude Fim Sales Limited 34 Fouberts Place, London, W1F 7PX Distribution                Mary and the Witch's Flower                12/4/2023
   159                                                                Agreement
       Bloom Media                400 South Beverly Drive, Suite 300, Distribution               Dragged Across Concrete                    12/30/2023
   160                            Beverly Hills, CA 90212             Agreement
         Kew Media Film              19 Heddon St., London W1B 4BG           Distribution        Cosplay Universe (doc)                     12/30/2023
   161                               England                                 Agreement
         Whiston Pictures Limited    First Floor, 50-54 Clerkenwell Road,    Distribution        Make Us Dream (doc/sport)                  12/30/2023
   162                               London, England, EC1M 5PS               Agreement
         Sierra Affinity             9378 Wilshire Blvd. #210, Beverly       Distribution        Stockholm                                  1/30/2024
   163                               Hills, CA 90212                         Agreement
         Swonderful Rights Ltd.      Willow Farm Barn, Further Street,       Distribution        The Wind in the Willows (musical play)     1/30/2024
   164                               Assington, C010 5LD, UK                 Agreement
         Goldcrest Films             65-66 Dean St., London, W1D 4PL         Distribution        Cold Blood Legacy (fka The Last Step)      3/30/2024
   165                                                                       Agreement
         HANWAY FILMS LTD.           24 Hanway St., London W1T 1UH           Distribution        Mary Shelley (PKA) A Storm in the Stars    5/13/2024
   166                                                                       Agreement
         Studio 100 Media            Neumarkter Str 18-20, 81673             Distribution        Princess Emmy (animation)                  5/31/2024
   167                               Munchen                                 Agreement
       Kew Media Int'l Limited       19 Heddon St., London W1B 4BG           Distribution                                                   6/30/2024
                                                                                                 Chuck Berry (doc/music)
   168 Film                          England                                 Agreement
       Kew Media Film                19 Heddon St., London W1B 4BG           Distribution        Chasing Perfect                            8/30/2024
   169                               England                                 Agreement
         Kew Media TV Deal           19 Heddon St., London W1B 4BG           Distribution        An Engineer Imagines                       8/30/2024
   170                               England                                 Agreement
                                     400 South Beverly Drive, Suite 300,   Distribution
         Bloom Media                                                                             The Informer                               9/30/2024
   171                               Beverly Hills, CA 90212               Agreement
                                     14 Floral St., 3rd Floor, London WC2E Distribution
         Great Point Media                                                                       Jonathan                                   12/14/2023
   172                               9DH                                   Agreement
         Fortitude Int'l [straight   15260 Ventura Blvd, Suite 1040,       Distribution
                                                                                                 Angel of Mine                              9/29/2024
   173   distrib.]                   Sherman Oaks CA 91403                 Agreement
         Rogue Productions           2 Fitzroy Street, Ponsonby Auckland   Distribution
                                                                                                 By the Balls                               10/30/2024
   174   [straight distrib.]         1021, New Zealand                     Agreement
         Myriad Pictures, Inc.       11845 West Olympic Blvd., Suite       Distribution
                                                                                                 Fast Color                                 9/13/2024
   175   [straight distrib.]         850W, Los Angeles, CA 90064           Agreement
         Metfilm Sales [straight     Ealing Studios Ealing Green, London   Distribution
                                                                                                 Heat, The                                  9/13/2024
   176   distrib.]                   W5 5EP England                        Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Line of Duty, 5                            8/14/2022
   177                               England                               Agreement
                                     11845 West Olympic Blvd., Suite       Distribution
         Myriad Pictures, Inc.                                                                   Auggie                                     9/24/2022
   178                               850W, Los Angeles, CA 90064           Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Margaret Atwood                             3/1/2024
   179                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Cleanin Up the Town                         3/1/2024
   180                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Cold Call                                   3/1/2024
   181                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Churchill and the Movie Mogul               3/1/2024
   182                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Own the Sky                                 3/1/2024
   183                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Prince Phillip                              3/1/2024
   184                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Laurel Canyon                              4/30/2025
   185                               England                               Agreement
                                     19 Heddon St., London W1B 4BG         Distribution
         Kew                                                                                     Worzel Gummidge                             3/1/2024
   186                               England                               Agreement
         HANWAY FILMS LTD.           24 Hanway St., London W1T 1UH         Notice of             Royal Night Out, A                          9/1/2020
   187                                                                     Assignment
         HANWAY FILMS LTD.           24 Hanway St., London W1T 1UH         Notice of             Final Portrait                             12/16/2020
   188                                                                     Assignment
       EXCLUSIVE FILMS INT'L         9100 Wilshire Blvd. Ste 401E, Beverly Notice of             Jane Got a Gun                             2/17/2021
   189 LIMITED                       Hills, CA 90212                       Assignment
       FILM BRIDGE INT'L.            1316 Third St Promenande Ste 105, Notice of                 Misconduct                                 3/28/2021
   190                               Santa Monica, CA 90401                Assignment
       EXCLUSIVE FILMS INT'L         9100 Wilshire Blvd. Ste 401E, Beverly Notice of             Pele: Birth of a Legend                    10/14/2021
   191 LIMITED                       Hills, CA 90212                       Assignment
       HANWAY FILMS LTD.             24 Hanway St., London W1T 1UH         Notice of             Their Finest                               10/18/2022
   192                                                                     Assignment
       EXCLUSIVE FILMS INT'L         9100 Wilshire Blvd. Ste 401E, Beverly Notice of             Skiptrace                                  10/31/2021
   193 LIMITED                       Hills, CA 90212                       Assignment
       Mongrel International         1028 Queen St. West, Toronto,         Notice of             Maudie                                     6/21/2022
   194                               Ontario MGJ 1H6                       Assignment
       PROTAGONIST PICTURES          42-48 Great Portland St, 4th Fl,      Notice of             Finding Your Feet                           2/1/2023
   195 LTD.                          London, W1W 7NB                       Assignment
       Jellyfish Bloom, LLC          400 South Beverly Drive, Suite 300, Notice of               Bel Canto                                   7/2/2023
   196                               Beverly Hills, CA 90212               Assignment
       Rocket Science Industries     117 Victoria Road, Kilburn, London, Notice of               At Eternity's Gate                         8/30/2023
   197 LTD                           England, NW6 6TD                      Assignment
       Embankment Films              Little Ashlake, Ashlake Copse Road, Notice of               Breathe                                     9/5/2023
       Limited                       Ryde, Isle of Wight PO33 4EY          Assignment
   198
       NUMBER 9 FILMS (CHESIL) 8-9 Stephen Mews, London W1T 1AF              Notice of           On Chesil Beach                            12/7/2023
   199 LIMITED                                                               Assignment
       Legacy Rights Ltd.        48 Beak St., London, W1F 9RL                Notice of           Fisherman's Friends                         3/1/2024
   200                                                                       Assignment




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                                                              Main Document    Page 72 of 86
 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                          !    Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 " No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ! Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        !D
                                               Street                                                                          ! E/F
                                                                                                                               !G
                                               City                  State      Zip Code


    2.2                                                                                                                        !D
                                               Street                                                                          ! E/F
                                                                                                                               !G
                                               City                  State      Zip Code


    2.3                                                                                                                        !D
                                               Street                                                                          ! E/F
                                                                                                                               !G
                                               City                  State      Zip Code


    2.4                                                                                                                        !D
                                               Street                                                                          ! E/F
                                                                                                                               !G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Jaguar Distribution Corp.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SFV

 Case number (if known)
                                                                                                                                       !   Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      ! None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   " Operating a business                                 $886,336.00
       From 1/01/2020 to Filing Date
                                                                                               ! Other


       For prior year:                                                                         " Operating a business                               $5,023,000.00
       From 1/01/2019 to 12/31/2019
                                                                                               ! Other


       For year before that:                                                                   " Operating a business                               $8,154,957.00
       From 1/01/2018 to 12/31/2018
                                                                                               ! Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      " None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      ! None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Jaguar Distribution Corp.                                                                 Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Celsius Entertainment LTD                                   6/22/20                            $7,992.42          ! Secured debt
               29 Brook Mews North                                                                                               ! Unsecured loan repayments
               Hyde Park                                                                                                         ! Suppliers or vendors
               London W2 3BW England                                                                                             ! Services
                                                                                                                                 " Other Licensor Payments Per
                                                                                                                                 Contract

       3.2.
               Employment Development Dept.                                4/22/20,                         $12,843.92           ! Secured debt
               P. O. Box 82676                                             5/4/20,                                               ! Unsecured loan repayments
               Sacramento, CA 94230-6276                                   5/6/20,                                               ! Suppliers or vendors
                                                                           5/18/20,                                              ! Services
                                                                           5/20/20,
                                                                           6/3/20,                                               " Other   Payroll Liabilities: CA -
                                                                           6/17/20,                                              WT
                                                                           7/1/20
       3.3.
               Internal Revenue Service                                    4/22/20,                         $23,531.30           ! Secured debt
               P.O. Box 21126                                              5/7/20,                                               ! Unsecured loan repayments
               Philadelphia, PA 19114                                      5/20/20,                                              ! Suppliers or vendors
                                                                           6/3/20,                                               ! Services
                                                                           6/17/20,
                                                                           7/1/20                                                " Other   Payroll Liabilities: CA -
                                                                                                                                 WT

       3.4.
               KEW Media (fka Content)                                     5/5/20                           $32,137.67           ! Secured debt
               Attn: Matthew Grosser                                                                                             ! Unsecured loan repayments
               19 Heddon St                                                                                                      ! Suppliers or vendors
               London W1B 4BG                                                                                                    ! Services
                                                                                                                                 " Other Licensor Payments Per
                                                                                                                                 Contract


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      " None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      " None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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 Debtor       Jaguar Distribution Corp.                                                                     Case number (if known)



      " None
       Creditor's name and address                               Description of the action creditor took                       Date action was                    Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      ! None.
               Case title                                        Nature of case               Court or agency's name and                Status of case
               Case number                                                                    address
       7.1.    Crayhill Capital Managment                        Contract                     Independent Film &                        !   Pending
               Jaguar Distribution                                                            Television Alliance                       !   On appeal
               Corporation (Spinning Man)                                                     IFTA Arbitral Tributal
               IFTA Arbitration Case #19-40                                                   c/o The arbitral Agent
                                                                                                                                        "   Concluded

                                                                                              10850 WIlshire Blvd., 9th Fl
                                                                                              Los Angeles, CA 90024


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      " None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      " None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      " None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss               Value of property
       how the loss occurred                                                                                                                                         lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      ! None.
                Who was paid or who received                         If not money, describe any property transferred            Dates                    Total amount or
                the transfer?                                                                                                                                     value
                Address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 3
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 Debtor        Jaguar Distribution Corp.                                                                Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.                                                                                                                   8/15/19
                                                                                                                               $35,511.25;
                                                                                                                               9/19/19
                                                                                                                               $11832.10;
                                                                                                                               10/16/19
                                                                                                                               $13,490.80;
                                                                                                                               11/20/19
                                                                                                                               $6,450.53;
                                                                                                                               12/11/19
                                                                                                                               $6,134;
                                                                                                                               1/21/20
                                                                                                                               $11,443.20;
                                                                                                                               2/19/20
                                                                                                                               $9,008;
                                                                                                                               3/16/20
                                                                                                                               $12,839;
                                                                                                                               4/14/20
                                                                                                                               $19,064.19;
                                                                                                                               6/4/20
                 Danning, Gill, Israel &                                                                                       $3,199.50;
                 Krasnoff, LLP                                                                                                 7/23/20
                 1901 Ave of the Stars                               Attorneys fees for bankruptcy counsel                     $1,905.15;
                 Suite 450                                           (7/30/20 payment includes $1,717 filing                   7/30/20
                 Los Angeles, CA 90067-6006                          fee)                                                      $30,391.50      $161,269.22

                 Email or website address
                 www.danninggill.com

                 Who made the payment, if not debtor?




       11.2.                                                                                                                   8/22/19
                                                                                                                               $19,309.94;
                                                                                                                               9/19/19
                                                                                                                               $19,442.13;
                                                                                                                               10/16/19
                                                                                                                               $18,614.31;
                                                                                                                               11/23/19
                                                                                                                               $19,401.66;
                                                                                                                               12/24/19
                                                                                                                               $18,256.93;
                                                                                                                               1/21/20
                                                                                                                               $17,984.14;
                                                                                                                               2/24/20
                                                                                                                               $18,198.59;
                                                                                                                               3/9/20
                                                                                                                               $15,691.79;
                                                                                                                               4/14/20
                                                                                                                               $22,020.44;
                                                                                                                               7/2/20
                 Armory Consulting Co.                                                                                         $20,572.33;
                 3943 Irvine Blvd Ste 253                            Financial Consultant and Chief                            7/29/20:
                 Irvine, CA 92602                                    Restructuring Officer                                     $26,902.55      $216,394.81

                 Email or website address
                 www.armoryconsulting.com

                 Who made the payment, if not debtor?




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 Debtor        Jaguar Distribution Corp.                                                                 Case number (if known)




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      " None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ! None.
                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1 The Terraces
       .    12711 Ventura Boulevard,
                Suite 100                                        abandoned office furniture to the
                Studio City, CA 91604                            landlord                                                4/30/20                        Unknown

                Relationship to debtor
                Debtor's former landlord


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      ! Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     12711 Ventura Blvd                                                                                        approximately 1998 to 4/30/19
                 Suite 300
                 Studio City, CA 91604

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      "     No. Go to Part 9.
      !     Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      "     No.
      !     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
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 Debtor        Jaguar Distribution Corp.                                                                Case number (if known)



    profit-sharing plan made available by the debtor as an employee benefit?

      "     No. Go to Part 10.
      !     Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      ! None
                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     East West Bank                                  XXXX-9710                ! Checking                  6/2/20                               $0.00
                 9378 Wilshire Blvd                                                       ! Savings
                 Suite 100                                                                ! Money Market
                 Beverly Hills, CA 90210                                                  ! Brokerage
                                                                                          " Other    Payroll


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      " None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      ! None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Extra Space Storage                                           James Wong                           accounting records, misc             ! No
       3289 El Camino Real                                           3943 Irvine Blvd., #253              paperwork, posters,                  " Yes
       Irvine, CA 92602                                              Irvine, CA 92602                     computers
                                                                                                          (prepaid through 10/12/20)
                                                                     Jenifer Isaacs
                                                                     12720 Burbank Boulevard
                                                                     #208
                                                                     Valley Village, CA 91607



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    " None

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 Debtor      Jaguar Distribution Corp.                                                                  Case number (if known)



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      "     No.
      !     Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      "     No.
      !     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      "     No.
      !     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      " None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ! None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jennifer Isaacs                                                                                                            2014 to current
                    c/o Jaguar Distribution Corp
                    12720 Burbank Boulevard
                    #208
                    Valley Village, CA 91607-7000




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 Debtor      Jaguar Distribution Corp.                                                                  Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.2.       Greg M Seigel CPA                                                                                                    2017 to current
                    Sage Point Financial
                    182321 Ventura Blvd Ste 915
                    Tarzana, CA 91356

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          ! None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Greg M.Seigel CPA                                                                                                    2017 to current
                    Sage Point Financial
                    182321 Ventura Blvd Ste 915
                    Tarzana, CA 91356

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          ! None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jennifer Isaacs
                    c/o Jaguar Distribution Corp
                    12720 Burbank Boulevard
                    #208
                    Valley Village, CA 91607
       26c.2.       Greg M Seigel CPA
                    Sage Point Financial
                    182321 Ventura Blvd Ste 915
                    Tarzana, CA 91356

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ! None
       Name and address
       26d.1.       Various unaudited financial statements
                    were provided to potential acquirers
                    under terms of confidentiality.

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      "     No
      !     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Wong                                     Armory Consulting Co.                               Appointed as Chief                    N/A
                                                      3943 Irvine Blvd., #253                             Restructuring Officer on
                                                      Irvine, CA 92602                                    March 5, 2020

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 Debtor       Jaguar Distribution Corp.                                                                 Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      !     No
      "     Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Jeffrey Klein                                  4651 Morse Ave.                                     President, sole board            Resigned as
                                                      Sherman Oaks, CA 91423                              member and 100%                  President and
                                                                                                          Shareholder                      appointed James
                                                                                                                                           Wong as Chief
                                                                                                                                           Restructuring
                                                                                                                                           Officer, effective
                                                                                                                                           as of 3/5/2020

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      !     No
      "     Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                      7/27/19-3/5/20 - Gross salary of
       .                                                         $14,315.38 paid 2x month, total
                                                                 $229,046.08
                                                                 7/15/19-3/20 - Blue Shield Medical
               Jeffrey S. Klein                                  Insurance: $24,734.98; Auto Insurance:                                    Employee
               4651 Morse Ave                                    $3,266.86; Auto Lease: $4,318.53; Cell                  See second        earnings and
               Sherman Oaks, CA 91423                            phone: $3,197.53                                        column            benefits

               Relationship to debtor
               Shareholder and Former
               President


       30.2 Juliana Klein                                                                                                                  Employee
       .    5350 White Oak Ave #112                              7/27/19-3/5/20 - Gross salary of $1,923.07,             See second        compensation
               Encino, CA 91316                                  paid 2x month, total $30,769.12                         column            and benefits

               Relationship to debtor
               Daughter of Shareholder and
               Former President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      "     No
      !     Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      "     No
      !     Yes. Identify below.


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 Debtor      Jaguar Distribution Corp.                                                                  Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 31, 2020

                                                                        James Wong
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
" No
! Yes




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                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    P                 11 U .S.C.         329( )               F .B                 . P. 2016( ), I          I                                                     ()
                                                                                                                            ,                                   ,
                                                            ()                                                                                              :
               F                     ,I                                                                                          $
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$1,717.00

2.    T                                                                              :
                    D                              O       (                ):

3.    T                                                                              :
                    D                              O       (                ):

4.            I                                                         -                                                                                                                             .

              I                                                 -                                                                                                                               . A
                                               ,                                                                                                            .

5.     I                               -                        ,I                                                                                      ,                    :

          .   A                            '                                     ,                                                                                                          ;
          .   P                                                         ,                ,                                                    ;
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6.    B                                            ( ),                     -                                                     :
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                                                                                                 CERTIFICATION
      I                                                                                                                                                                                    ()
                                   .

     J    31, 2020
     Date                                                                                                    M. S             , @       .
                                                                                                         Signat re of Attorne
                                                                                                         D        ,G ,I         &K        , LLP
                                                                                                         1901 A                S    ,S      450
                                                                                                         L A            , CA 90067-6006
                                                                                                         (310) 277-0077 F : (310) 277-5735
                                                                                                         Name of la firm




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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &        FOR COURT USE ONLY
Email Address
Zev M. Shechtman, zs@dgdk.com
Danning, Gill, Israel & Krasnoff, LLP
1901 Avenue of the Stars, Suite 450
Los Angeles, CA 90067-6006
(310) 277-0077 Fax: (310) 277-5735
California State Bar Number: 266280 CA




    Attorney for: Debtor
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                       CASE NO.:
         Jaguar Distribution Corp., a New York Corporation ADVERSARY NO.:
                                                  Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I, James Wong                                                                 , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:
 Jeffrey S. Klein
 4651 Morse Avenue
 Sherman Oaks, CA 91423




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
